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             United States Court of Appeals
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued December 4, 2023            Decided October 22, 2024

                                    No. 22-3042

                            UNITED STATES OF AMERICA,
                                    APPELLEE

                                          v.

                                   COUY GRIFFIN,
                                    APPELLANT


                     Appeal from the United States District Court
                             for the District of Columbia
                                (No. 1:21-cr-00092-1)



                Lisa B. Wright, Assistant Federal Public Defender, argued
            the cause for appellant. With her on the briefs was A. J.
            Kramer, Federal Public Defender. Tony Axam Jr., Assistant
            Federal Public Defender, entered an appearance.

                Daniel J. Lenerz, Assistant U.S. Attorney, argued the
            cause for appellee. With him on the brief were Chrisellen R.
            Kolb and Nicholas P. Coleman, Assistant U.S. Attorneys.
            James Pearce, Attorney, U.S. Department of Justice, entered
            an appearance.

               Before: PILLARD and KATSAS, Circuit Judges, and
            ROGERS, Senior Circuit Judge.
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                Opinion for the Court filed by Circuit Judge PILLARD.

                Dissenting opinion filed by Circuit Judge KATSAS.

                 PILLARD, Circuit Judge:          This appeal turns on
            interpretation of a federal law enacted to better protect the
            President and other national leaders from assassination,
            kidnapping, and assault. The law creates a narrow domain of
            federal trespass authority to prevent unauthorized members of
            the public from getting too close to a person under Secret
            Service protection. It does so by empowering the Secret
            Service to prevent unauthorized people from knowingly
            encroaching on “posted, cordoned off, or otherwise restricted”
            safety zones where the President or Vice President (current or
            past), a leading candidate for such office, or any of a handful
            of other Secret Service protectees “is or will be temporarily
            visiting.” 18 U.S.C. § 1752(c)(1)(B).

                 The defendant says a person “knowingly enters” the
            restricted safety zone only if he knows that the basis of the
            restriction is to safeguard a Secret Service protectee. Id.
            § 1752(a)(1). We hold that knowingly breaching the restricted
            area suffices, even without knowing the basis of the
            restriction—here, the presence of Vice President Pence at the
            Capitol on January 6—which merely confirms that such
            trespasses are within Congress’s legislative authority.
            Traditional tools of statutory interpretation establish that
            Congress intended to criminalize trespasses endangering
            Secret Service protectees regardless of the trespasser’s
            awareness of the basis for Congress’s authority to regulate
            them. And a contrary interpretation would impair the Secret
            Service’s ability to protect its charges. It would require Secret
            Service agents preventing members of the public from
            encroaching on a temporary security zone to confirm that each
            intruder knows that a person under Secret Service protection is
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            or is expected to be there. Neither the text nor the context of
            the statute supports that reading.

                 Couy Griffin knowingly intruded into the area of the
            United States Capitol grounds that had been restricted in order
            to protect Vice President Pence on January 6, 2021, during the
            counting of the electoral college votes for President. Griffin
            came to the Capitol that day along with thousands of other
            people to try to stop the certification of the electors’ ballots.
            He breached the boundary established to prevent public access
            and remained for approximately two hours in the restricted area
            while the Capitol Police struggled, facing serious injury and
            even death, to control the mob that overwhelmed them and
            broke into the Capitol Building.

                 Following a bench trial, the district court convicted Griffin
            of violating 18 U.S.C. § 1752(a)(1), which prohibits
            “knowingly enter[ing] or remain[ing] in any restricted building
            or grounds without lawful authority to do so.” “Restricted
            building or grounds” refers to a limited number of “posted,
            cordoned off, or otherwise restricted area[s],” including the
            White House or Vice President’s residence, areas where a
            Secret Service protectee “is or will be temporarily visiting,”
            and areas being used for a “special event of national
            significance.” Id. § 1752(c)(1). The Capitol grounds fell under
            that provision on January 6 because a Secret Service protectee,
            Vice President Michael Pence, was expected to be and was
            present. Id. § 1752(c)(1)(B).

                 Griffin raises two arguments on appeal. He first asserts
            that because waves of rioters ahead of him trampled much of
            the fencing and signage delineating the relevant area’s
            perimeter, it was no longer “posted, cordoned off, or otherwise
            restricted” when he entered and remained there. But Griffin’s
            main claim is that a conviction for “knowingly” entering or
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            remaining in a “restricted building or grounds” under section
            1752(a)(1) requires proof that the defendant not only knew that
            the area was restricted, but that he knew the reason for the
            restriction when he entered or remained. The government
            acknowledged its obligation to prove that Griffin knew the
            grounds were restricted; Griffin challenges the sufficiency of
            the proof on that point. The government disagreed that the
            statute also requires proof that Griffin knew precisely why the
            area was restricted, and the district court held that the
            government did not “have to prove [he] knew that a specific
            dignitary was there.” J.A. 534.

                 We hold that the grounds immediately surrounding the
            U.S. Capitol qualified as a “restricted building or grounds”
            under section 1752, and that they were adequately “posted,
            cordoned off, or otherwise restricted” when Griffin clambered
            over a stone wall and jumped inside. And we hold that a
            conviction for knowingly entering and remaining on such
            grounds in violation of section 1752(a)(1) required only that
            Griffin knew that he had entered or remained in a “posted,
            cordoned off, or otherwise restricted” area where he was not
            authorized to be. The government was not required to prove
            that Griffin was aware that the Vice President’s presence was
            the reason the grounds remained restricted. We therefore
            affirm the judgment of conviction.

                                           I.

                                           A.

                 Section 1752 enables the Secret Service to protect the
            people and events they guard in settings the statute refers to as
            “restricted building[s] or grounds.” 18 U.S.C. § 1752(a). The
            statute has three subsections. Subsection (a) prohibits a range
            of conduct connected to those sites, including the trespass
            offense at issue in this appeal, as well as engaging in “any act
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            of physical violence” therein, and obstructing the means of
            ingress and egress to those sites with the intent to impede or
            disrupt government business.            Id. §§ 1752(a)(1)-(5).
            Subsection (b) provides for criminal penalties, including
            imprisonment or a fine, or both, for those who violate
            subsection (a). Id. § 1752(b). The offense is punishable as a
            misdemeanor, id. § 1752(b)(2), unless a deadly or dangerous
            weapon is used or significant bodily injury results, in which
            case it may be punished as a felony, id. § 1752(b)(1).

                Subsection (c) defines the term “restricted buildings or
            grounds” as “any posted, cordoned off, or otherwise restricted
            area”:

                (A) of the White House or its grounds, or the Vice
                    President’s official residence or its grounds;

                (B) of a building or grounds where the President or
                    other person protected by the Secret Service is
                    or will be temporarily visiting; or

                (C) of a building or grounds so restricted in
                    conjunction with an event designated as a
                    special event of national significance.

            Id. §§ 1752(c)(1)(A)-(C).

                 Section 1752 did not always have this three-part structure.
            It was enacted in 1971 as a more streamlined statute focused
            on protecting the President in the wake of a series of political
            assassinations in the 1960s—particularly those of President
            John F. Kennedy in Dallas and then-presidential candidate
            Robert F. Kennedy in Los Angeles. In recognition of the rising
            levels of violent political rhetoric and the “constant excoriation
            of America’s institutions and leaders” that made holding the
            office of the presidency increasingly dangerous, Congress set
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            out to provide stronger and more standardized security for the
            President. S. Rep. No. 91-1252, at 4 (1970). Congress
            recognized the complex challenges of protecting national
            leaders away from their usual offices or residences, where they
            are “most vulnerable”—whether from an “isolated and
            deranged individual” or from “organized premeditated
            attempts” on their lives. Id. at 6.

                 At the time, no statute conferred federally enforceable
            authority on the Secret Service to restrict entry to places
            temporarily visited or used by the President. Instead, the
            Service relied on “the assistance of local authorities to arrest
            persons” under a patchwork of state and local criminal
            statutes—an arrangement that rendered it “increasingly
            difficult to maintain the necessary level of security” when local
            authorities were not present and closely coordinating or when
            the proper jurisdiction for arresting and prosecuting violations
            was unclear. Id. at 7. To remedy that impediment to
            presidential security, Congress enacted section 1752, creating
            a federal offense encompassing trespasses that the Secret
            Service had previously relied on state and local officials to
            enforce under state and local trespass laws. Id. at 7. In this
            way, Congress provided “a uniform minimum of Federal
            jurisdiction for Presidential security when the President is on
            temporary visits,” id. at 6, by empowering the Secret Service
            to prevent “physical presence [and] physical violence within
            the security perimeter” created by temporarily restricted areas
            surrounding the President, id. at 9.

                 Over the decades, Congress has repeatedly revisited
            section 1752, expanding its coverage to align with the broader
            scope of the Secret Service’s protective duties. At first, the
            statute protected only places designated as the President’s
            temporary residence or office or any other building or grounds
            where the President was or would be temporarily visiting. See
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            18 U.S.C. § 1752(a)(1) (1971). In 1982, Congress amended the
            statute to extend “the same ‘zone of protection’ authority”
            applicable to the President to all Secret Service protectees
            (which includes the Vice President). See Pub. L. No. 97-308,
            96 Stat. 1451, 1451-52 (1982). In 2006, Congress again
            amended the statute to apply beyond sites temporarily visited
            by protectees to also shield any “event designated as a special
            event of national significance.” See Pub. L. No. 109-177, 120
            Stat. 192, 252 (2006). Finally, in 2012, Congress added federal
            protection against intrusion into the White House or Vice
            President’s residence or their grounds. See Pub. L. No. 112-
            98, 126 Stat. 263, 263-64 (2012). In so doing, Congress
            acknowledged that the Secret Service had previously relied on
            District of Columbia trespass law to protect those sites. H.R.
            Rep. 112-9, at 2 (2011). 1

                                            B.

                In January 2021, Griffin was serving as an elected
            Commissioner on the Otero County Commission in southern
            New Mexico and as the leader of a political committee called
            “Cowboys for Trump.” He decided to travel to Washington,
            D.C. to attend the Stop the Steal rally on the National Mall on
            January 6, 2021—the day that Congress was set to certify the
            Electoral College vote that confirmed the outcome of the 2020
            presidential election. He arrived by January 5 and recorded a
            video of himself in front of the U.S. Capitol’s western side,
            declaring that he was “praying for” former Vice President
            Pence and “trust[ed] that he would do the right

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                   In referencing the importance of section 1752 to the Secret
            Service’s ability to shield the President, Vice President, and other
            protectees, we recognize that the Secret Service works together with
            other protective forces—as it did in this case—and take no position
            on whether section 1752 requires the Secret Service itself to
            designate or secure the “restricted buildings or grounds.”
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            thing . . . tomorrow.”    GX 63 at 1:00-1:13.          Fencing
            surrounding the grassy areas in front of the Capitol was visible
            behind Griffin in the video. Id.

                 In anticipation of the rally and certification, the Secret
            Service worked in coordination with the U.S. Capitol Police to
            prepare for Vice President Pence’s visit to the Capitol. The
            Secret Service informed the Capitol Police of Vice President
            Pence’s anticipated schedule of arrivals and departures to and
            from each location he intended to visit at the Capitol, and the
            Capitol Police prepared for the certification, including Vice
            President Pence’s presence at the Capitol. Pursuant to its
            longstanding relationship with the Secret Service, the Capitol
            Police implemented “an agreed-upon standard boundary” to
            secure a perimeter on the grounds immediately surrounding the
            Capitol. J.A. 450. To do so, the Capitol Police erected barriers
            using temporary crowd-control fencing that they referred to as
            metal “bike racks” and plastic “snow fencing” to supplement
            permanent walls. They also placed temporary fencing both
            immediately behind the permanent walls and midway up the
            west lawn to protect the inaugural stage that was being
            prepared for Inauguration Day. The racks and fencing were
            posted with signs reading “Area Closed by Order of the United
            States Capitol Police Board” and were patrolled by law
            enforcement officers.

                  On January 6, Griffin attended the Stop the Steal rally on
            the Ellipse adjacent to the White House and followed the crowd
            as it proceeded toward the U.S. Capitol. Griffin was not at the
            front of the crowd. Shortly after 2 p.m., as the first wave of
            rioters to have breached the security perimeter shattered the
            Capitol Building’s windows and climbed inside, Griffin was
            taking photos and exchanging social media information with
            other rally attendees near the Capitol Reflecting Pool adjacent
            to the west lawn of the Capitol. At 2:31 p.m.—around the same
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            time that Capitol Police officers were conducting emergency
            evacuations of the House and Senate chambers in response to
            the breach of the Capitol Building—Griffin used the seat of a
            parked bicycle to boost himself over a five-foot-tall stone wall
            separating a sidewalk from the Capitol’s west front lawn. He
            landed on a trampled length of plastic snow fencing that the
            U.S. Capitol Police had erected to cordon off the area.

                 Once inside the grounds, Griffin proceeded up the lawn to
            the base of the inaugural stage, scaling two other walls along
            the way with the help of a metal bike rack and a plywood ramp
            manned by other rioters helping the crowd advance toward the
            Capitol. After he ascended the bike rack, he narrated to a
            camera “we’re in now” and joked to a masked rioter that he,
            too, needed a face mask to obscure his identity. GX 37-1 at
            1:10-28. As Griffin made his way toward the front of the
            crowd, the crowd packed increasingly closely together in
            pressing toward the Capitol, with rioters scaling the bannisters
            of the Capitol steps, banging on the Capitol terraces with
            flagpoles, pounding on the doors of the inaugural stage, and
            urging the crowd forward with shouts of “this is our House”
            and “break the doors down.”

                 Griffin proceeded to the foot of the inaugural platform,
            near an emergency stairwell door, where he announced that he
            would “wait until they get this door broken down” to go up on
            the inaugural stage. GX 40-1 at 0:25-30. Griffin managed to
            make his way onto the inaugural stage. As he climbed the
            stairs, he proclaimed—in response to the smell of pepper spray
            officers used to try to clear the area—that he “love[s] the smell
            of napalm in the air.” GX 43-1 at 0:30-40; see also J.A. 536.
            Having ascended the stage, he borrowed a bullhorn in an
            attempt to lead the rioters below in prayer. Around that time,
            a crowd of rioters armed with plastic riot shields and flagpoles
            massed in a tunnel approximately a hundred feet away from
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             Griffin, pressing against and engaging in hand-to-hand combat
             with Metropolitan Police Department officers in an attempt to
             gain access to the Capitol. Griffin stayed up on the inaugural
             stage and the nearby terrace until at least 4:48 p.m.

                  As explained at trial by a member of the Secret Service
             detail accompanying Vice President Pence, his wife, and their
             daughter, the “unknown individuals who were breaking
             through a security barrier of a site where [the Secret Service]
             had protectees” posed a security risk by “potentially taking
             away options for our routes out” of the Capitol. J.A. 422. Due
             to breaches of security, “the Capitol went into lockdown, which
             means everything has to stop, and the doors lock, and people
             aren’t allowed in,” and “any official actions that are taking
             place” are halted. J.A. 426. The mass security breaches on
             January 6 by thousands of people, including Griffin, halted the
             certification of the electoral votes while the Secret Service
             sought to safeguard the Vice President and his family in a
             building under attack. The Vice President, his wife, and their
             daughter remained at an underground loading dock at the
             Capitol under Secret Service protection for four or five hours,
             not returning to the Senate Chamber until approximately 7 p.m.
             J.A. 425-27.

                 The next day, Griffin resurfaced in Roanoke, Virginia,
             where he recorded another video. He asserted that he heard
             when he was “about three-quarters of the way down [to the
             Capitol]” on January 6 that “Mike Pence had sold us all out.”
             GX 64 at 3:20-35. Griffin went on to explain that the inaugural
             stage was “set up for Joe Biden” and “roped off” on the Capitol
             grounds. Id. at 3:35-4:15. As he put it, “You’re gonna have
             those patriots who get in there and went over the—when the
             D.C. police tells ‘em you can’t step over this because this is—
             we’re getting it ready for Joe Biden. What do you think was
             gonna happen?” Id.
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                 The following week, Griffin addressed his colleagues on
             the Otero County Commission. He told them:

                 On the inaugural side, all those Trump people got
                 down there, had not got anything necessarily from the
                 President that was new, and then heard that Mike
                 Pence had certified a fraudulent election. The element
                 in the crowd was pretty elevated, I would say. But
                 when they got down to the inaugural side, there was
                 some fencing up, and they were saying that you
                 couldn’t go any further because this was being
                 reserved for Joe Biden and his inauguration. You tell
                 a million Trump supporters that, they’re going down
                 there. Pretty soon that crowd just pushed through. I
                 wasn’t anywhere in the front of it. I was in the back.

             GX 78 at 2:27-3:12. Griffin said that he planned to return to
             Washington, D.C. for Inauguration Day with multiple firearms.
             See id. at 11:10-11:50. Days later, he was arrested in
             Washington, D.C.

                                           C.

                 Federal prosecutors charged Griffin with two
             misdemeanors: entering and remaining in a restricted building
             or grounds, in violation of 18 U.S.C. § 1752(a)(1), and
             disorderly and disruptive conduct in a restricted building or
             grounds, in violation of 18 U.S.C. § 1752(a)(2). He opted for
             a bench trial before the district court.

                 Shortly before trial, the parties briefed whether the
             government would be required to prove that Griffin knew Vice
             President Pence was visiting the Capitol at the time Griffin was
             on the Capitol grounds. Griffin argued that, because section
             1752(a)(1)’s “knowingly” modifies the object of the prohibited
             conduct—the “restricted building or grounds” in which a
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             defendant enters or remains—a defendant must be shown to
             know the characteristics of the area that qualify it as a
             “restricted building or grounds” pursuant to section 1752(c)(1),
             which include the presence of a Secret Service protectee. See
             Griffin’s Resp. to Gov’t’s Trial Br. at 3 (J.A. 129).

                  At the conclusion of the bench trial, the district court
             rejected Griffin’s argument, concluding that section 1752’s
             condition that a defendant act “knowingly” did not require
             knowledge of the presence of a Secret Service protectee. The
             court noted that “it doesn’t make a lot of sense” to require proof
             that the defendant “knew that a specific dignitary was there,”
             and found it unimaginable that “a provision that is looking to
             protect Secret Service protectees would require the Secret
             Service to somehow be telling people and proving that
             [defendants] knew which protectee was in the restricted area at
             what time.” J.A. 534. It sufficed, the district court held, that
             the area was restricted because of Vice President Pence’s
             presence when Griffin entered and stayed, J.A. 530-532, and
             that, “by the time [Griffin] was on the stage, he certainly knew
             he shouldn’t be there. And yet, he remained.” J.A. 537. The
             court accordingly convicted Griffin of violating 18 U.S.C.
             § 1752(a)(1).

                  As to the section 1752(a)(2) charge of disruptive or
             disorderly conduct in or near a restricted building or grounds,
             the court found “more than a reasonable doubt as to whether he
             intended for his conduct to disrupt the certification of the
             election.” J.A. 539. Despite “some close questions about
             whether his mere presence impeded or disrupted government
             business,” the court held the government failed to prove that
             Griffin “engaged in disorderly or disruptive conduct.” J.A.
             539. And it failed to establish that Griffin “acted knowingly
             and with intent” to impede or disrupt congressional business,
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             because Griffin “thought the electoral certification had already
             occurred prior to his entering the restricted area.” J.A. 537-38.

                 The district court sentenced Griffin to fourteen days of
             incarceration, with credit for time served, and one year of
             supervised release. He timely filed this appeal.

                                             II.

                  To violate section 1752(a)(1), a defendant must
             “knowingly” and “without lawful authority” enter or remain in
             a “restricted building or grounds.” Griffin contends the district
             court should have acquitted him for two reasons. First, he
             argues that the government failed to prove beyond a reasonable
             doubt that the area immediately surrounding the U.S. Capitol
             was sufficiently demarcated as restricted when he entered and
             remained there. Second, Griffin argues that the government
             failed to prove beyond a reasonable doubt that Griffin knew not
             just that the area was restricted, but also the reason for that
             restriction—here, that Vice President Pence, a Secret Service
             protectee, was or would be visiting.

                  Griffin challenges both the district court’s interpretation of
             section 1752’s elements and the sufficiency of the evidence to
             support his conviction. We review de novo the district court’s
             interpretation of the statute. See United States v. Verrusio, 762
             F.3d 1, 13 (D.C. Cir. 2014); see also United States v. Johnson,
             979 F.3d 632, 636 (9th Cir. 2020) (“In a bench trial, a district
             court’s legal error regarding the elements of the offense is
             reviewed in the same way we review an erroneous jury
             instruction regarding the elements of the offense.”). In
             reviewing the sufficiency of the evidence, we defer to the
             factfinder’s verdict, considering the evidence “in the light most
             favorable to the government.” United States v. Robertson, 103
             F.4th 1, 10-11 (D.C. Cir. 2023) (quoting United States v. Shi,
             991 F.3d 198, 205 (D.C. Cir. 2021)); see also United States v.
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             Brock, 94 F.4th 39, 46 (D.C. Cir. 2024) (explaining that “this
             standard is the same for both jury and non-jury cases”). We
             consider the evidence taken as a whole, and with reasonable
             inferences drawn in the light most favorable to the verdict.
             United States v. Broda, 848 F.3d 1044, 1053 (D.C. Cir. 2017).
             We will affirm a guilty verdict if “any rational trier of fact
             could have found the essential elements of the crime beyond a
             reasonable doubt.” Musacchio v. United States, 577 U.S. 237,
             243 (2016) (quoting Jackson v. Virginia, 443 U.S. 307, 319
             (1979)).

                                           A.

                  We begin with Griffin’s argument that the government
             failed to prove the requisite conduct, or actus reus, under
             section 1752(a)(1). The U.S. Capitol grounds are ordinarily
             open to the public. J.A. 337. To qualify as a “restricted
             building or grounds” protected by section 1752, those grounds
             must have been “posted, cordoned off, or otherwise restricted”
             at the time Griffin entered or remained there. 18 U.S.C.
             § 1752(c)(1).

                  Apart from his argument addressed below regarding his
             knowledge of the grounds restriction, Griffin argues that, by
             the time he entered, the grounds were in fact no longer
             restricted within the meaning of the statute. They were neither
             posted nor cordoned off, he claims, because earlier waves of
             the rioters had torn down the temporary fencing and trampled
             signs announcing the closure. Griffin Br. 21-22, 46-47; see
             J.A. 345. And, reading “otherwise restricted” narrowly to
             require demarcation “comparable to a physical ‘posting’ or
             ‘cordoning off,’” Griffin Br. 40, Griffin insists only a clear,
             observable demarcation would suffice.          He argues his
             conviction cannot stand because the barriers and signs had been
             trampled or pushed aside. Id.
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                  The statutory text imposes no such requirement.
             “Otherwise” means “in another way” or “in a different
             manner,” and “restricted” means deemed “accessible only to
             certain authorized people.” Otherwise (adv.), Oxford English
             Dictionary (2d ed. 1989); Restricted (adj.), Oxford English
             Dictionary. Section 1752 thus applies to areas made nonpublic
             by posting signs, cordoning off the area, or in some other way
             effecting the restriction, regardless of whether the method
             consistently and physically stakes out the area’s boundaries.
             For example, to “otherwise restrict[]” an area, officers or
             agents charged with excluding the public could position
             themselves around the area occupied by a protected person or
             move in coordination with the protectee, as they typically do
             when the President or Vice President is on foot moving through
             otherwise publicly accessible areas. Or they might use a sound
             system or official briefing warning people to maintain a
             specified distance as means to control the perimeter, 18 U.S.C.
             § 1752(c)(1), even without static visual demarcation of an
             area’s boundaries. J.A. 444.

                   The drafting history confirms as much. When Congress
             first promulgated section 1752, it “anticipated that the Secret
             Service [would] make every effort . . . to make such restricted
             areas known to the public,” S. Rep. 91-1252, at 9, but it
             declined to list exhaustively the ways in which the public
             would be excluded. By separately requiring proof of a
             defendant’s subjective awareness that the area was “posted,
             cordoned off, or otherwise restricted,” Congress ensured that
             unwitting trespassers would not be punished. Id. That
             approach accommodated the reality that “flexibility must be
             maintained” to ensure adequate security. Id. at 2.

                 Griffin’s proposed physical demarcation requirement
             would undermine the function of section 1752(a)(1). Under his
             reading, a defendant would be entitled to acquittal so long as
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             he waited until a sufficiently strong gust of wind, a soaking
             downpour—or even a less scrupulous prior intruder—disposed
             of law enforcement tape, fencing, or signage before he entered
             a sensitive area in full awareness he was not lawfully
             authorized to do so. We decline to read the statute to allow a
             mob to de-restrict an officially restricted area encompassing
             persons under Secret Service protection.

                  With the meaning of those terms thus settled, we hold that
             the evidence at trial was sufficient for a reasonable factfinder
             to conclude that the U.S. Capitol grounds qualified on January
             6 as a “restricted building or grounds” and were “posted,
             cordoned off, or otherwise restricted” when Griffin entered and
             remained there. In anticipation of then-Vice President Pence’s
             presence at the Capitol to certify the electoral votes on January
             6, law enforcement officers had erected barriers around the
             perimeter of the closed area with layers of snow fencing and
             bike racks supplementing pre-existing permanent walls to
             encircle the Capitol grounds. Signs indicating the area was
             closed were affixed along the barriers. By the time Griffin
             entered the restricted area, many of those physical
             manifestations of its closure had been largely trampled, but that
             fact did not alter the status of the area as closed to the public.
             The Secret Service’s protectees, then-Vice President Pence and
             his wife and daughter, remained within the Capitol complex,
             sheltering in the eye of the riot’s storm. Far from reopening
             the grounds, law enforcement officers remained onsite battling
             to secure them.

                                            B.

                 We turn next to Griffin’s arguments that he lacked the
             requisite knowledge to be convicted. Griffin argues that the
             government failed to prove the knowledge element in two
             ways. First, he contends that there is insufficient evidence to
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             support the district court’s finding that Griffin knowingly
             entered or remained within a “posted, cordoned off, or
             otherwise restricted” area. Second, Griffin argues that the
             district court misread the statute in not requiring the
             government to prove that he knew why the Capitol grounds
             were restricted—namely, that former Vice President Pence was
             or would be visiting the Capitol—and that the trial evidence
             failed to establish his knowledge of the Vice President’s
             whereabouts.

                  We can quickly dispose of Griffin’s first argument.
             Griffin insists that a reasonable factfinder could only have
             found that, when Griffin entered the Capitol grounds, he
             believed that the area was no longer restricted. See Griffin Br.
             60 (describing Griffin’s view of the trampled fencing as “akin
             to seeing rolled up fencing after a 4th of July concert”).

                  The evidence does not support that claim. Viewed in the
             light most favorable to the government, the trial evidence
             showed that Griffin knew he had entered or remained without
             authorization in a “posted, cordoned off, or otherwise
             restricted” area. The district court found “ample evidence that
             Mr. Griffin knowingly entered or remained within the
             restricted area.” J.A. 536. The government proved that Griffin
             saw the rings of fencing and signage encircling the Capitol
             grounds on January 5, when he recorded a video with the
             grounds as his backdrop. J.A. 536 (district court’s oral ruling);
             see also GX 63. And it showed that, the next day, when Griffin
             scaled the stone wall that partially delineated the grounds, he
             landed on trampled snow fencing and signs, GX 33-1, which
             the district court observed would suggest to a reasonable
             person “that perhaps you should not be entering the area.” J.A.
             536. The evidence that Griffin knew he was trespassing only
             mounted as he continued to progress across the grounds.
             Arriving at the base of the inaugural stage, he announced,
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             “we’re in now,” and joked that he should hide his identity with
             a face mask. GX 37-1 at 1:10-28. When Griffin quipped that
             he loved the “smell of napalm in the air,” he showed he knew
             that law enforcement officers were using teargas as they battled
             to expel the mob—a clear sign that the area remained restricted.
             GX 43-1 at 0:30-40; see also J.A. 536.

                  Griffin’s public statements in the days after January 6
             confirm that Griffin knew when he entered and stayed on the
             Capitol grounds that the area was “restricted” within the
             meaning of section 1752(c)(1). See J.A. 536-37. On January
             7, Griffin recalled that the inaugural stage that he climbed was
             “roped off,” and that “D.C. police” had told the rioters “you
             can’t step over this.” GX 64 at 3:20-4:15. And, on January 14,
             Griffin reiterated that “there was some fencing up” that alerted
             the rioters they “couldn’t go any further,” but the crowd—
             including Griffin—“just pushed through.” GX 78 at 2:27-3:12.

                  Accordingly, a rational factfinder could conclude—as,
             indeed, the district court did, see J.A. 536-37—that Griffin was
             aware that the U.S. Capitol grounds were “posted, cordoned
             off, or otherwise restricted” and his presence was unauthorized
             when he remained there during the afternoon of January 6,
             2021.

                                            C.

                  To prevail, then, Griffin must persuade us that the district
             court misinterpreted section 1752(a)(1)’s knowledge
             requirement.      Section 1752(a)(1) prohibits “knowingly
             enter[ing] or remain[ing] in any restricted building or grounds
             without lawful authority to do so.” 18 U.S.C. § 1752(a)(1).
             And, as relevant here, section 1752(c)(1) defines the term
             “restricted buildings or grounds” to mean “any posted,
             cordoned off, or otherwise restricted area . . . of a building or
             grounds where the President or other person protected by the
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             Secret Service is or will be temporarily visiting.”         Id.
             § 1752(c)(1)(B).

                  As we explained, the district court reasonably found that
             the Capitol grounds were “posted, cordoned off, or otherwise
             restricted” when he entered, and that Griffin knew that they
             were. But Griffin argues that the statute demands something
             more: In his view, the statute also requires proof that he knew
             why the Capitol grounds were so restricted when he entered or
             remained there—i.e., that Griffin knew that a Secret Service
             protectee was or would be temporarily visiting the Capitol
             grounds. We decline to adopt such a rule, which would
             contravene the statute’s text as read in accord with binding
             precedent of the Supreme Court and this court, and would
             undermine the statute’s context and purpose. Every indicator
             points in the same direction: A person trespassing on grounds
             he knows are restricted, where he knows he lacks permission
             to be, may be convicted of a federal misdemeanor trespass
             under section 1752(a)(1) even if he does not know that a Secret
             Service protectee is within.

                                           1.

                  “Whether a criminal statute requires the Government to
             prove that the defendant acted knowingly is a question of
             congressional intent.” Rehaif v. United States, 588 U.S. 225,
             228 (2019) (citing Staples v. United States, 511 U.S. 600, 605
             (1994)). Griffin contends that Congress’s intent is clear—and
             “dictated by text.” Griffin 28(j) Ltr. at 2 (Feb. 19, 2024). He
             argues that section 1752(a) uses “restricted building or
             grounds” as a defined term, so its appearances across the text
             of subsection (a)(1) must be treated as shorthand for every
             detail of the term’s definition. In Griffin’s view, because
             “knowingly” modifies “restricted building or grounds,” the
             government must prove that he had knowledge not just that
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             access was restricted, but the precise reason why it was
             restricted. Griffin Br. 48-57. Otherwise, Griffin urges, the
             government would have failed to prove that the defendant
             knew he entered a “restricted building or grounds” as the
             statute requires.

                  In support of this argument, Griffin cites McFadden v.
             United States, 576 U.S. 186 (2015), in which the Supreme
             Court held that violation of the Controlled Substances Act’s
             prohibition of “knowingly . . . distribut[ing] . . . a controlled
             substance” required the defendant to know that he distributed
             something that qualified as a “controlled substance” as
             elsewhere defined by the Act. 576 U.S. at 191-92. “[J]ust as
             it is not enough to know that a substance is generically
             ‘controlled’ (antibiotics are ‘controlled’),” Griffin urges, “it is
             not enough to know that a building or grounds is generically
             ‘restricted’ (any place bearing an ‘area closed’ sign is
             ‘restricted’).” Griffin Br. 54.

                  Griffin’s reading of the extent of the statute’s knowledge
             requirement fails because it is contrary to both Supreme Court
             precedent and contextual evidence of Congress’s purpose.
             Grammatical rules and presumptions regarding statutory
             knowledge requirements and “jurisdictional only” elements all
             weigh against extending the “knowingly” requirement in
             section 1752(a)(1) to the specific reason that the area is
             “posted, cordoned off, or otherwise restricted.”

                  Griffin is correct that a handful of Supreme Court cases,
             including McFadden, hold that, at least for relatively short
             statutory phrases, “[a]s a matter of ordinary English grammar,
             it seems natural to read the statute’s word ‘knowingly’ as
             applying to all the subsequently listed elements of the crime.”
             Flores-Figueroa v. United States, 556 U.S. 646, 650 (2009).
             The Court in Flores-Figueroa, for example, interpreted the
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             phrase “knowingly transfers, possesses, or uses, without lawful
             authority, a means of identification of another person,” 18
             U.S.C. § 1028A(a)(1), to require that the defendant knew the
             identification he used belonged to “another person.” Id.

                  That precedent does not resolve this case. To begin with,
             the Court has adopted that understanding of ordinary usage
             inconsistently even as applied to relatively short and
             straightforward statutory phrases. For instance, in Liparota v.
             United States, 471 U.S. 419 (1985), the Court analyzed
             whether, in a statutory phrase concerning someone who
             “knowingly uses, transfers, acquires, alters, or possesses
             coupons or authorization cards in any manner not authorized
             by [the statute],” the “knowingly” requirement extends to the
             fact that the use was unauthorized. Id. at 420-21. The Court
             concluded that “the words themselves provide little guidance,”
             as “[e]ither interpretation would accord with ordinary usage.”
             Id. at 424. Instead, to determine that “knowingly” extended to
             the unauthorized nature of the use, the Court relied on the
             judicial presumptions that elements criminalizing otherwise
             innocent conduct are subject to a mens rea requirement and that
             ambiguous statutes should be interpreted leniently. Id. at 424-
             27.

                  More to the point, “where the modifier ‘knowingly’
             introduces a long statutory phrase,” the ordinary meaning
             Griffin asserts loses its clarity, “such that questions may
             reasonably arise about how far into the statute the modifier
             extends.” Rehaif, 588 U.S. at 230. And when a statutory
             phrase is long enough, the ordinary usage presumption flips, so
             that the “most natural grammatical reading . . . suggests that the
             term ‘knowingly’ modifies only the surrounding verbs” and
             does not travel down to modify elements “set forth in
             independent       clauses     separated     by       interruptive
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             punctuation.” United States v. X-Citement Video, Inc., 513
             U.S. 64, 68 (1994).

                  The Court in X-Citement Video accordingly had to reach
             beyond rules of grammar to interpret a statute penalizing “[a]ny
             person who—(1) knowingly transports or ships [using any
             means or facility of] interstate or foreign commerce by any
             means including by computer or mails, any visual depiction,
             if—(A) the producing of such visual depiction involves the use
             of a minor engaging in sexually explicit conduct.” Id. It
             recognized that, in the most natural reading of that long text
             string, “the word ‘knowingly’ would not modify the elements
             of the minority of the performers, or the sexually explicit nature
             of the material.” Id. The Court ultimately rejected that “most
             natural grammatical reading” because of “anomalies which
             [would] result,” and to ensure that “some form of scienter”
             would apply to avoid criminalizing conduct that was not only
             “otherwise innocent” but protected by the First Amendment.
             Id. at 68-69, 72-73.

                  Here, the statutory phrase—“knowingly enters or remains
             in any . . . posted, cordoned off, or otherwise restricted area . . .
             of a building or grounds where the President or other person
             protected by the Secret Service is or will be temporarily
             visiting,” where “other person protected by the Secret Service”
             is further defined as “any person whom the United States Secret
             Service is authorized to protect under section 3056 of this title
             or by Presidential memorandum, when such person has not
             declined such protection,” 18 U.S.C. §§ 1752(a), (c)—is
             sufficiently long to raise “questions . . . about how far into the
             statute the modifier extends.” Rehaif, 588 U.S. at 230. The
             statutory definition of “restricted building or grounds” requires
             not just following section 1752(a)’s reference to subsection
             (c)(1), and then to either (A), (B), or (C), but also, if (B) applies,
             flipping to section 3056 to find the list of protectees under the
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             Secret Service’s care. Some protectees defined by the section
             are straightforward—e.g., the “President [and] the Vice
             President.” 18 U.S.C. § 3056(a)(1). But others are contingent
             on further facts, such as the Secret Service’s protection of
             children of former Presidents only until their sixteenth
             birthday, or its protection of “distinguished foreign
             visitors . . . when the President directs that such protection be
             provided.” Id. § 3056(a)(6).

                  The “most natural grammatical reading” of that
             matryoshka doll of nested statutory references is that “the word
             ‘knowingly’ would not modify” all elements in each reference.
             X-Citement Video, 513 U.S. at 68. No grammatical rule
             requires that “knowingly” be read to apply, for example, to
             elements that are not only “set forth in independent clauses
             separated by interruptive punctuation,” but span multiple,
             separate statutory provisions. Id. (holding that the “most
             natural grammatical reading” would not extend “knowingly” to
             subsections listing further specifications of the offense, and
             describing em-dashes introducing those requirements as
             “interruptive punctuation”). And here, unlike in X-Citement
             Video, the grammatically natural reading neither produces
             “anomalies” nor fails to require a culpable state of mind—and
             certainly not in a way that raises a risk of punishing
             constitutionally protected conduct. Id. To the contrary, it is
             Griffin’s construction that would produce absurd results. It
             would require a defendant to know that the protectee “has not
             declined” Secret Service protection.             See 18 U.S.C.
             § 1752(c)(2). If the protectee is a visiting official from abroad,
             it would require a defendant charged under section 1752(a) to
             know that the President saw fit to grant that visitor Secret
             Service protection pursuant to section 3056(a)(7). And if the
             basis for a restriction is a “special event of national
             significance,” see 18 U.S.C. § 1752(c)(1)(C), a defendant
             would have to know that it has been so designated. If we read
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                                            24
             the knowledge requirement to jump the em-dash into
             subsection (c)(1)(B) as Griffin urges, we would by all
             indications have to do the same for those qualifiers. See, e.g.,
             Clark v. Martinez, 543 U.S. 371, 378 (2005) (“The operative
             language . . . applies without differentiation to all three
             categories . . . that are its subject. To give these same words a
             different meaning for each category would be to invent a statute
             rather than interpret one.”). This is no far-fetched reductio ad
             absurdum, post at 10-12; it is a direct consequence of Griffin’s
             own syntactic logic and suggests that Griffin’s interpretation—
             which is not required by any interpretive rule and defies
             common sense—cannot be correct.

                  Although the plain text makes clear that “knowingly” does
             not apply all the way down the definitional line, the text alone
             “provide[s] little guidance” regarding how far “knowingly”
             extends. Liparota, 471 U.S. at 424. To answer that question,
             we turn to longstanding judicial presumptions, Supreme Court
             precedent, and the statute’s context and purpose. Because
             those interpretive tools reveal the answer—“knowingly” does
             not extend to the reason for the restriction listed in subsection
             (c)(1)(B)—we have no occasion to apply the rule of lenity,
             which “applies only when, after consulting traditional canons
             of statutory construction, we are left with an ambiguous
             statute.” Shular v. United States, 589 U.S. 154, 165 (2020)
             (quoting United States v. Shabani, 513 U.S. 10, 17 (1994)); see
             also Ocasio v. United States, 578 U.S. 282, 295 (2016)
             (explaining that the rule of lenity “applies only when a criminal
             statute contains a ‘grievous ambiguity or uncertainty,’ and
             ‘only if, after seizing everything from which aid can be
             derived,’ the Court ‘can make no more than a guess as to what
             Congress intended.’”) (quoting Muscarello v. United States,
             524 U.S. 125, 138-39 (1998)).
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                                           25
                                            2.

                  As noted above, “[w]hether a criminal statute requires the
             Government to prove that the defendant acted knowingly is a
             question of congressional intent.” Rehaif, 588 U.S. at 228
             (citing Staples, 511 U.S. at 605). “In determining Congress’
             intent, we start from a longstanding presumption . . . that
             Congress intends to require a defendant to possess a culpable
             mental state regarding ‘each of the statutory elements that
             criminalize otherwise innocent conduct.’” Id. (quoting X-
             Citement Video, 513 U.S. at 72). But that presumption is both
             limited and rebuttable.

                  Two interpretive rules confirm that section 1752(a)(1)
             requires only that a defendant “knowingly enter[] or remain[]
             in” an area that is “posted, cordoned off, or otherwise
             restricted.” For one thing, the presumption “flips” for the
             jurisdictional elements of a federal offense, so courts presume
             that a criminal statute’s knowledge requirement is typically
             inapplicable to such jurisdictional elements. Torres v. Lynch,
             578 U.S. 452, 468 (2016). And, more generally, contextual
             clues may rebut the presumption in favor of scienter. Applying
             those rules here confirms that section 1752(a)(1) does not
             require that the defendant further know which of the subsection
             (c)(1) requirements is the reason for the restriction.

                                            a.

                  Federal criminal prohibitions, unlike their state
             counterparts, contain jurisdictional elements that “connect[]
             the law to one of Congress’s enumerated powers, thus
             establishing legislative authority.” Torres, 578 U.S. at 467-68.
             Those jurisdictional elements must be proven beyond a
             reasonable doubt, as with any element of a criminal offense.
             See id. But they are also distinctive as subjects of statutory
             interpretation: When Congress has not explicitly applied a
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             mental state requirement to a jurisdictional element, we
             “assume that Congress wanted such an element to stand outside
             the otherwise applicable mens rea requirement.” Id. at 468. In
             other words, we presume that “the existence of the fact that
             confers federal jurisdiction need not be one in the mind of the
             actor at the time he perpetrates the act made criminal by the
             federal statute.” United States v. Feola, 420 U.S. 671, 676 n.9
             (1975). That rule applies even when textual cues might cut the
             other way. In Rehaif, for example, the Supreme Court
             eschewed what it described as the most grammatical reading of
             a criminal statute in order to exempt a jurisdictional element
             from a knowledge requirement that it held applied to textually
             preceding and succeeding statutory terms. Rehaif, 588 U.S. at
             230.

                 Section 1752(c)(1) supplies the jurisdictional elements for
             Griffin’s statute of conviction. As described above, Section
             1752(c)(1) defines “restricted buildings or grounds” to include
             “any posted, cordoned off, or otherwise restricted area” of the
             White House, the Vice President’s official residence, or their
             grounds; a building or grounds where the President or other
             Secret Service protectee is or will be temporarily visiting; or a
             building or grounds restricted in conjunction with a special
             event of national significance. 18 U.S.C. § 1752(c)(1)(A)-(C).
             Those elements are jurisdictional; they “ensure that the Federal
             Government has the constitutional authority to regulate the
             defendant’s conduct.” Rehaif, 588 U.S. at 230.

                  The subsection (c)(1)(A)-(C) requirements narrow the
             criminal offense’s applicability to a small subset of trespassing
             offenses that implicate both the personal security of the most
             high-profile federal officials and their foreign counterparts
             when they visit the United States, and also, necessarily, the
             national security of the United States. See Wood v. Moss, 572
             U.S. 744, 748 (2014) (citing Watts v. United States, 394 U.S.
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             705, 707 (1969)) (recognizing that “safeguarding the
             President” is “of overwhelming importance in our
             constitutional system”). Those requirements thus tie the
             criminal prohibition to Congress’s power to “provide for the
             common Defense and general Welfare of the United States.”
             U.S. Const. art. I, § 8, cl. 1; see H. R. Rep. No. 112-9, at 4
             (2011) (identifying this basis of Congress’s constitutional
             authority in the 2012 amendment to the section).

                  The jurisdictional status of the subsection (c)(1)
             requirements is confirmed by their essential role in
             distinguishing a violation of section 1752(a)(1) from the
             familiar, state-law crime of trespass. Without them, section
             1752(a)(1) would impermissibly federalize garden-variety
             trespass—entering or remaining in a restricted area without
             lawful authority—which is “historically a concern of state
             law.” Taggart v. Weinacker’s, Inc., 397 U.S. 223, 227 (1970)
             (Burger, J., concurring); cf. United States v. Lopez, 514 U.S.
             549, 567-68 (1995) (emphasizing federalism’s requirement
             that Congress distinguish between “what is truly national and
             what is truly local,” and only legislate regarding the former).
             With or without the satisfaction of a (c)(1)(A), (B), or (C)
             requirement, the underlying conduct is the same knowing
             trespass. It is the satisfaction of one of the required connections
             to federal national security interests that elevates the conduct
             to a matter upon which Congress has authority to legislate.

                  Those subsection (c)(1) requirements are therefore
             jurisdictional in nature. And, under binding Supreme Court
             precedent, if they are “jurisdictional only” they “need not be
             one in the mind of the actor at the time he perpetrates the act
             made criminal by the federal statute.” Feola, 420 U.S. at 676
             n.9.
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                  Griffin contends that the subsection (c)(1) requirements
             are not jurisdictional at all, let alone “jurisdictional only,”
             because they play a substantive role in defining the prohibited
             conduct. The presence of a Secret Service protectee is “the
             very reason Congress cares to punish such conduct as wrongful
             at all,” Reply Br. 21, Griffin insists, so it cannot be
             jurisdictional. That argument misunderstands the Court’s
             admittedly “mislead[ing]” jurisdictional elements terminology.
             Feola, 420 U.S. at 676 n.9.

                  It is often the case that jurisdictional elements “have
             nothing to do with the wrongfulness of the defendant’s
             conduct.” Rehaif, 588 U.S. at 230. The classic example is “a
             standard interstate commerce element, of the kind appearing in
             a great many federal laws.” Torres, 578 U.S. at 471. That
             element “is almost always a simple jurisdictional hook” used
             to “connect[] the congressional exercise of legislative authority
             with . . . the Commerce Clause[] that grants Congress that
             authority.” Id. at 457, 471.

                  But things are not always so straightforward. Sometimes,
             an element of a federal crime both “makes evident Congress’s
             regulatory power” and also “play[s] a role in defining the
             behavior Congress thought harmful.” Id. at 471. The Supreme
             Court has recognized that such dual-role elements present
             “tough questions” concerning whether they are treated as both
             jurisdictional and substantive or as jurisdictional only. Id. at
             470-71. And it has squarely held that the mere fact that a
             statutory element has something to do with the wrongfulness
             of the defendant’s conduct does not necessarily mean that the
             element is not “jurisdictional only.” Feola, 420 U.S. at 676
             n.9. As the Court has explained, “[t]he significance of labeling
             a statutory requirement as ‘jurisdictional’ is not that the
             requirement is viewed as outside the scope of the evil Congress
             intended to forestall.” Id. Rather, as illustrated by Feola, dual-
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             role elements are nonetheless treated as “jurisdictional only”
             when they (a) implement Congress’s purpose to federalize pre-
             existing state law rather than defining a new substantive crime,
             and (b) do not transform innocent conduct into criminal
             conduct. Id.

                  In Feola, the Supreme Court considered the scope of the
             knowledge requirement in 18 U.S.C. § 111, which makes it a
             crime to assault a federal officer engaged in the performance of
             his official duties. Feola tried to sell counterfeit drugs to
             undercover federal officers and, when the deal went south,
             assaulted one of them. Feola, 420 U.S. at 674. Feola did not
             know that his victim was a federal officer—or an officer at
             all—so he was “undoubted[ly] surprise[d]” when he was
             charged with, and later convicted of, assaulting a federal
             officer. Id. at 675. But his surprise did not undermine his
             conviction.     Deeming the “federal officer” requirement
             jurisdictional, the Court held that section 111 “cannot be
             construed as embodying an unexpressed requirement that an
             assailant be aware that his victim is a federal officer.” Id. at
             684. “All the statute requires is an intent to assault, not an
             intent to assault a federal officer.” Id.

                  In holding that the victim’s federal officer status was
             “jurisdictional only,” the Court acknowledged that a
             jurisdictional requirement could also be “an element of the
             offense Congress intended to describe and to punish.” Id. at
             676 n.9. Indeed, “a requirement is sufficient to confer
             jurisdiction on the federal courts for what otherwise are state
             crimes precisely because it implicates factors that are an
             appropriate subject for federal concern.” Id. (emphasis added).
             The Court explained that “a mere general policy of deterring
             assaults would probably prove to be an undesirable or
             insufficient basis for federal jurisdiction; but where Congress
             seeks to protect the integrity of federal functions and the safety
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             of federal officers, the interest is sufficient to warrant federal
             involvement.” Id. So, “[t]he significance of labeling a
             statutory requirement as ‘jurisdictional’ is not that the
             requirement is viewed as outside the scope of the evil Congress
             intended to forestall, but merely that the existence of the fact
             that confers federal jurisdiction need not be one in the mind of
             the actor at the time he perpetrates the act made criminal by the
             federal statute.” Id.

                  The Court thus concluded that the federal-nexus
             requirement was “jurisdictional only” because, in enacting
             section 111, Congress aimed to create a federal forum for the
             prosecution of already-criminalized conduct, rather than to
             create new substantive criminal law. Id. at 683-84. The law
             “in large part . . . duplicat[ed] state proscriptions” with the
             goal of ensuring that “those who killed or assaulted federal
             officers were brought to justice” under the uniform standards
             of federal court, rather than state courts where “state officials
             would not always or necessarily share congressional feelings
             of urgency as to the necessity of prompt and vigorous
             prosecutions of those who violate the safety of the federal
             officer.” Id. Therefore, because the “concept of criminal intent
             does not extend so far as to require that the actor understand
             not only the nature of his act but also its consequence for the
             choice of a judicial forum,” the Court declined to require
             knowledge of federal officers’ status. Id. at 685. Rather,
             despite the fact that Congress’s interest in establishing a federal
             forum was born of its specific concern for “protect[ing] the
             integrity of federal functions and the safety of federal officers,”
             id. at 676 n.9, the Court held that the federal officers’ status
             was “no more germane to the nature of [the assault] than the
             color of the victim’s hair,” id. at 693.

                  The Court also emphasized that its “interpretation poses
             no risk of unfairness to defendants.” Id. at 685. Even though
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             Feola may have been “surprised to find that his intended victim
             [was] a federal officer in civilian apparel, he nonetheless
             [knew] from the very outset that his planned course of conduct
             [was] wrongful.” Id. The Court distinguished the case from
             “one where legitimate conduct becomes unlawful solely
             because of the identity of the individual or agency affected.”
             Id.; cf. Ruan v. United States, 597 U.S. 450, 460-61 (2022)
             (applying the knowledge requirement in a statute criminalizing
             dispensing of a controlled substance to the element of lack of
             authorization because that “is often the critical thing
             distinguishing wrongful from proper conduct”). In that kind of
             case, the Court suggested, the identity of the victim may not be
             treated as jurisdictional. Feola, 420 U.S. at 685. But where
             the defendant’s planned course of conduct is wrongful from the
             outset, “the offender takes his victim as he finds him.” Id.

                  The rule from Feola is thus clear: When an element of a
             criminal offense serves as the basis for Congress’s authority to
             legislate; the offense merely provides federal jurisdiction over
             what was previously a state law offense; and knowledge of the
             element is not “essential to the existence of any crime,” United
             States v. Hicks, 15 F.4th 814, 818 (7th Cir. 2021) (emphasis
             added), the element is treated as “jurisdictional only” and
             courts presume that knowledge of that element is not required.

                  Feola thus resolves the “tough question” presented by the
             statutory text alone in favor of treating the element regarding a
             Secret Service protectee’s presence as “jurisdictional only.”
             As in Feola, section 1752(a)(1) does not create a substantively
             new criminal offense. Rather, Congress designed it to ensure
             that Secret Service officers did not have to “rely upon the
             assistance of local authorities to arrest persons” who entered
             restricted areas around a protectee. See S. Rep. No. 91-1252,
             at 7 (1970).
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                  When it first enacted section 1752 in 1971, Congress
             recognized that “almost everything proscribed in [section
             1752] is presently outlawed in some form or other at the State
             or local level.” Id. Similarly, in amending the statute in 2012
             to include prohibitions on entering the grounds of the White
             House and Vice President’s residence, Congress stressed that
             the Secret Service had previously relied on D.C. trespass law
             to exclude and prosecute White House and Naval Observatory
             intruders. H.R. Rep. No. 112-9, at 2 (2011). Before section
             1752’s enactment, Secret Service officers found it “difficult to
             tell exactly which jurisdiction bears the responsibility for
             detention and prosecution,” and the patchwork of relevant state
             laws that applied depending on the protectee’s location made
             “Secret Service agents unsure of the legal extent of their
             authority and [made] uniform enforcement impossible.”
             S. Rep. No. 91-1252, at 7 (1970). Just as in Feola, the fact that
             section 1752(a)(1) merely federalizes preexisting state or local
             prohibitions makes the basis for restricting the prohibited area
             “jurisdictional only.” That remains true even though the
             enacting Congress was of course motivated by a desire to
             safeguard federal Secret Service protectees, just as the
             Congress that enacted section 111 in Feola was motivated to
             shield federal officers.

                  Also as in Feola, the prohibited conduct (here, trespass) is
             wrongful regardless of whether it is restricted by federal, state,
             or local law, and it is therefore sufficient that the defendant
             knowingly trespassed on a restricted area. Just as Feola did not
             need to know that the target of his assault was a federal officer,
             so Griffin need not have known that the restriction was
             predicated on the presence of the Vice President. As in Feola,
             our interpretation of section 1752 “poses no risk of unfairness
             to defendants” because a trespasser knows “from the very
             outset that his planned course of conduct is wrongful.” 420
             U.S. at 685. That is true even if he “may be surprised to find”
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             that the restricted area on which he is trespassing is protected
             by federal rather than state law. Id.

                  Contrary to the dissent’s view that mens rea requirements
             presumptively apply to each element distinguishing “greater
             and lesser evils,” post at 15-16, the Supreme Court has recently
             reaffirmed that “the purpose of scienter” is to “help[] to
             separate wrongful from innocent acts,” Rehaif, 588 U.S. at 231-
             32, and described the mens rea presumption as one that
             normally applies to “statutory elements that criminalize
             otherwise innocent conduct,” id. at 229 (quoting X-Citement
             Video, 513 U.S. at 72). Applying Griffin’s contrary rule would
             also be in tension with decisions of many other courts that
             regularly apply Feola to hold that jurisdictional elements that
             do not criminalize otherwise innocent conduct are
             “jurisdictional only.” Consider just a few examples.

                  In United States v. Evans, 74 F.4th 597 (4th Cir. 2023), the
             Fourth Circuit addressed the scope of the knowledge
             requirement in 18 U.S.C. § 1855, which makes it a crime to
             “willfully and without authority, set[] on fire any timber,
             underbrush, or grass or other inflammable material . . . upon
             any lands owned or leased by . . . the United States.” Id. at 601,
             605. The court held that the government need not prove that
             the defendant knew that the land on which he set fire was
             federally owned; it was sufficient that he knowingly set a fire
             on the property of another. Id. The court explained that the
             “proscribed arson [wa]s the culpable conduct”; the statutory
             requirement that the fire be set ablaze on federally owned lands
             merely brought that “culpable conduct within the United
             States’ jurisdiction” by tying the offense to Congress’s
             constitutional power to regulate federal land. Evans, 74 F.4th
             at 605, 606. And the jurisdictional nature of the federal-
             ownership element was “confirm[ed]” by the fact that it “is not
             an element that ‘separate[s] wrongful conduct from innocent
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             acts.’” Id. (quoting Ruan, 597 U.S. at 458). So, too, here,
             subsection (c)(1)(B) ties the trespassing offense to Congress’s
             authority to regulate in the national security arena, and
             trespassing on an area that one knows is restricted is wrongful,
             regardless of why the area is restricted. See also United States
             v. Quarrell, 310 F.3d 664, 671-74 (10th Cir. 2002) (holding
             that a defendant convicted of knowingly and without
             authorization excavating archaeological resources from public
             or Indian lands was not required to know the specified
             ownership of the land because “[o]ne would anticipate that
             excavating for archaeological resources on another person’s
             land, whether private or public, would not be viewed as an
             innocent act”).

                  The Second Circuit in United States v. Escalera, 957 F.3d
             122 (2d Cir. 2020), adopted the same approach to a statute that
             criminalizes “knowingly” engaging in conduct “with intent to
             retaliate” against a witness in an “official proceeding,” 18
             U.S.C. § 1513(b)(1), and that separately defines “official
             proceeding” as certain federal proceedings, id. § 1515(a)(1).
             The court held that, for purposes of the conduct or actus reus,
             the government had to prove that the victim of the defendant’s
             retaliation had testified in an “official proceeding” as defined
             in the statute—“a proceeding before a judge or court of the
             United States.” Escalera, 957 F.3d at 128-34. But for the
             mental state or mens rea, the government needed only to prove
             the defendant knew the witness had testified in a “court.” Id.
             In so holding, the Second Circuit emphasized that “[i]t is not as
             if Congress deemed retaliatory assaults on witnesses in state
             proceedings to be innocent conduct which would be worthy of
             prohibition only if a federal proceeding were involved.” Id. at
             133. Rather, the purpose of section 1513 is to “ensure that the
             Federal Government does all that is possible . . . to assist
             victims and witnesses of crime.” Id. (quoting Victim and
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             Witness Protection Act of 1982, Pub. L. No. 97-291 § 2(b), 96
             Stat. 1248 (1982)).

                  Under the Feola line of cases, the requirements in section
             1752(c)(1)(A)-(C) serve as jurisdictional hooks, and
             knowledge that any of those requirements is satisfied is
             unnecessary to render criminal the underlying conduct:
             knowing trespass on property where the defendant is aware he
             is not authorized to be. As in the above cases, the defendant
             must know he is engaged in culpable conduct—trespassing—
             but he need not know the precise basis for federal regulation of
             that conduct.

                  Griffin contends that, even if attaching “knowingly” to the
             subsection (c)(1) requirements is not necessary to avoid
             criminalizing otherwise innocent conduct, the satisfaction of
             those requirements increases the severity of the conduct and
             resulting penalty. He thus argues that the government should
             be required to prove he was aware of the presence of a Secret
             Service protectee because knowledge of that fact would
             increase his culpability. See Griffin 28(j) Ltr. at 2 (Jan. 6,
             2024). But there is no doctrinal basis for presuming that a
             knowledge requirement attaches to every factor that might
             render a crime more serious. And, in any event, the penalties
             under section 1752(a)(1) are not categorially more severe than
             under state trespass laws.

                  Consider the statute at issue in Feola. Assaulting an
             officer is generally a more serious crime than assaulting a
             private citizen. Both are plainly wrongful, but assaulting a
             federal officer imperils the success of the federal objectives he
             is serving as well as his own personal safety. So, too, with the
             statute prohibiting false statements within the jurisdiction of
             the federal government at issue in United States v. Yermian,
             468 U.S. 63 (1984). Because of its high stakes for the public
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             trust, lying to a federal agency on a security clearance
             application is generally culpable in a way that lying about
             similar matters to a private employer is not. Yet the Supreme
             Court held in each of those cases that facts establishing the
             federal nexus were jurisdictional and not subject to the statute’s
             knowledge requirements.

                  In United States v. Burwell, 690 F.3d 500 (D.C. Cir. 2012)
             (en banc), we rejected the same argument now raised by
             Griffin.    In that case, the court held that 18 U.S.C.
             § 924(c)(1)(B)(ii), which imposes a “term of imprisonment of
             not less than 30 years” for a person who “possess[es] . . . a
             machinegun” “during . . . any crime of violence”—a
             substantive rather than jurisdictional provision—does not
             require “the government to prove that the defendant knew the
             weapon he was carrying was capable of firing automatically.”
             Id. at 502. That was so, we held, even though the fact that the
             firearm could fire automatically, and was therefore a
             machinegun, ratcheted up the defendant’s crime of conviction
             to a mandatory 30-year sentence. Id. at 516.

                  In a dissenting opinion, then-Judge Kavanaugh argued that
             the presumption in favor of scienter “applies both when
             necessary to avoid criminalizing apparently innocent conduct
             (when the defendant would be innocent if the facts were as the
             defendant believed) and when necessary to avoid convicting
             the defendant of a more serious offense for apparently less
             serious criminal conduct.” Burwell, 690 F.3d at 529
             (Kavanaugh, J., dissenting). (His dissent did not address
             whether his analysis would be any different if the machinegun
             element were jurisdictional.) But the en banc majority rejected
             that proposed rule as unsupported by Supreme Court precedent.
             Id. at 516 (maj. op.). The fact that the type of firearm defendant
             Burwell used increased the offense’s severity did not mean the
             government had to prove that he knew it was a machinegun.
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             Id. We similarly held in United States v. Morgan, 45 F.4th 192,
             205-09 (D.C. Cir. 2022), that a conviction under 18 U.S.C.
             § 2423(a), which prohibits “knowingly transport[ing] an
             individual who has not attained the age of 18 years” interstate
             to engage in sex offenses, did not require proof of the
             defendant’s knowledge of the victim’s minor age, even though
             a sex offense involving a minor typically carries harsher
             penalties than one involving an adult. That principle applies
             with all the more force here, where the element increasing
             sentence severity is jurisdictional only.

                  Nor is it apparent that defendants like Griffin will be
             exposed to sentences disproportionate to their culpability.
             Barring aggravating factors not applicable to Griffin, section
             1752 imposes a maximum of one year’s imprisonment for
             violating subsection (a). See 18 U.S.C. § 1752(b). Similar
             penalties attach to state trespassing laws on which the Secret
             Service would otherwise have to rely for arrest and prosecution
             of those who breach a security perimeter around a protectee.
             For example, the District of Columbia imposes a six-month
             maximum for trespass, see D.C. Code § 22-3302(b), and
             trespassing in Virginia is punishable by up to one year of
             imprisonment, see Va. Code Ann. §§ 18.2-11, -119.

                  To the extent that the maximum period of incarceration
             under section 1752 is higher than state trespassing laws
             typically provide, the same was true in Feola, where the
             maximum penalties imposed by section 111 exceeded states’
             penalties for simple assault. See Feola, 420 U.S. at 702-03
             (Stewart, J., dissenting). The Court’s analysis in Feola was
             unaffected by that maximum-penalty disparity because “the
             offender takes his victim as he finds him.” Id. at 685. So too
             in Burwell, where the status of a firearm as a machinegun
             “skyrocket[ed]” the mandatory sentence from five to thirty
             years’ imprisonment, Burwell, 690 F.3d at 503, and Morgan,
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             where the juvenile status of the transported individual boosted
             the sentence imposed from a maximum of ten years’
             imprisonment to a minimum of ten years and up to life. See
             Morgan, 45 F.4th at 205, 208-09.

                  The availability of up to a year’s incarceration does not
             support Griffin’s dramatically narrowed reading of section
             1752(a)(1). Concerns about ensnaring relatively mild conduct,
             such as “stepping over temporary plastic fencing just outside
             the Capitol grounds on January 5, 2021, to save a few steps on
             a walk home from work,” post at 10, could equally be levelled
             at the ordinary trespass laws of myriad states and localities with
             similar terms of incarceration. But we can readily assume that
             people in Virginia ignore “no trespassing” signs with some
             frequency “to save a few steps” without doubting that the
             Virginia legislature intended to criminalize simple trespass.

                  Recent experience in this Circuit demonstrates that
             violators of section 1752(a) are typically sentenced to far less
             time than the statutory maximum. The Sentencing Guidelines
             recommend imposing a sentence of zero to six months for a
             defendant without prior criminal history convicted of violating
             section 1752(a)(1). Nearly every defendant charged in
             connection with the events of January 6 and sentenced solely
             for violation of section 1752(a) has been sentenced to fewer
             than six months’ incarceration—to the extent they were
             sentenced to jail time at all. See U.S. Attorney’s Office for the
             District of Columbia, Sentences Imposed in Cases Arising out
             of the Events of January 6, 2021 (updated October 7, 2024),
             available at https://www.justice.gov/usao-dc/capitol-breach-
             cases [https://perma.cc/6PYL-KAB7]. Griffin was sentenced
             to fourteen days’ imprisonment. Even those January 6-related
             defendants convicted of a section 1752 offense involving
             possession of “deadly or dangerous weapon[s] or firearm[s],”
             18 U.S.C. § 1752(b)(1)(A), carrying a ten-year maximum
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             prison sentence, have all been sentenced to less than one year
             of imprisonment or to probation alone. See id.

                  In sum, the basis of the Secret Service’s authority to
             prevent access to designated areas for the safety of its
             protectees is a “jurisdictional only” element of a section
             1752(a)(1) federal trespass offense. It need not be in the mind
             of the trespasser. The relative seriousness of trespass in an area
             protected by the Secret Service, and the potential for somewhat
             greater punishment than for typical trespass, does not alter the
             analysis where, as here, the prohibited conduct is wrongful
             whether or not federal criminal law applies.

                                            b.

                  In addition to the jurisdictional character of the subsection
             (c)(1) requirements, a second rule guiding our interpretation of
             criminal statutes’ state-of-mind requirements similarly
             disfavors requiring proof of knowledge of a Secret Service
             protectee’s presence in the restricted area. Courts decline to
             extend even explicit state-of-mind requirements to statutory
             elements when “context” disfavors doing so. Morgan, 45 F.4th
             at 206-08; see also Rehaif, 588 U.S. at 229-30 (noting that there
             can be a “convincing reason to depart from the ordinary
             presumption in favor of scienter”); Hicks, 15 F.4th at 817-18
             (holding that a defendant’s knowledge that the money he stole
             belonged to the government was jurisdictional only, in part
             because a contrary interpretation would undercut the statute’s
             purpose of protecting federal property used in an undercover
             operation). The context of section 1752—a law originally
             enacted to create Secret Service-controlled security zones
             around the President in response to nationwide alarm over a
             spate of high-profile political assassinations—demonstrates
             that Congress intended the statute to cover all knowing
             trespasses into those restricted areas.
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                  First, section 1752’s drafting and legislative history make
             clear that Congress never intended “knowingly” to extend to
             the reason for the area’s restriction. The original version of
             section 1752(a)(1)(ii) made it unlawful “knowingly to enter or
             remain in … any posted, cordoned off, or otherwise restricted
             area of a building or grounds where the President is or will be
             temporarily visiting.” 18 U.S.C. § 1752(a)(1) (1971). In
             describing the wording of that provision, the Senate Judiciary
             Committee addressed the concern that the public would lack
             adequate notice of a restricted area’s boundary because there
             would be no “written public notice” in the Federal Register
             defining the temporarily restricted areas (as the statute requires
             for the President’s official residences and offices). S. Rep. No.
             91-1252, at 9 (1970). In the Committee’s view, that concern
             was adequately allayed by the fact that the Secret Service “will
             make every effort, consistent with Presidential security, to
             make such restricted areas known to the public (i.e., by posting
             or cordoning off),” and that individuals would be subject to
             criminal prosecution only if they “‘knowingly and willfully’
             violate[] the restricted area.” Id.

                  The Senate Committee’s expressed satisfaction with the
             requisite actual knowledge as to the boundary of the restricted
             area makes clear that prosecution under section 1752(a)(1)(ii)
             is inappropriate if an individual does not know that the area is
             “posted, cordoned off, or otherwise restricted.” The lack of any
             mention of an individual’s knowledge of the reason for the
             restriction—the President’s actual or expected presence—
             makes equally clear that Congress did not intend the
             “knowingly” requirement to extend to the reason for the
             restriction.   Indeed, the Committee’s reference to the
             requirement of subjective knowledge of an area’s restriction,
             and to the Secret Service making “every effort” at providing
             public notice only to the extent “consistent with Presidential
             security,” reinforces that Congress did not intend to also
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             require the Secret Service to announce to the public the precise
             location of the President in order to be able to enforce access
             restrictions on areas surrounding him.

                  As discussed above, in 1982, Congress expanded section
             1752(a)(1)(ii) to cover other Secret Service protectees in
             addition to the President. See Pub. L. No. 97-308, 96 Stat.
             1451, 1451-52 (1982). As part of its 2012 amendments,
             Congress also implemented a “technical improvement[]” to
             streamline the increasingly cumbersome statutory language by
             moving into subsection (c) the identification of the three Secret
             Service-protected areas justifying federal restriction. H.R.
             Rep. No. 112-9, at 1-2; see also Pub. L. No. 112-98, 126 Stat.
             263, 263-64 (2012). That change yielded the statute’s current
             form, which spells out criminal offense conduct in subsection
             (a) and defines the term “restricted buildings or grounds” in
             subsection (c)(1).     But neither that act of legislative
             housekeeping, nor Congress’s addition of other Secret Service
             protectees to section 1752(a)(1)(ii) in 1982, changes the mens
             rea requirement of that section to encompass the reason that
             the building or grounds is “posted, cordoned off, or otherwise
             restricted.”

                  Second, applying a mens rea requirement to the reason for
             the restriction would undercut section 1752(a)(1)’s manifest
             protective purpose. To require proof that a defendant “know”
             that a Secret Service protectee is or would be in the restricted
             area would pointlessly hinder the Secret Service’s ability to
             defend national leaders from would-be assassins and encumber
             prosecution of persons whose knowing trespasses endanger
             persons under Secret Service protection. Section 1752
             empowers the Secret Service to ensure a secure perimeter
             around the President, other national leaders, and their families
             wherever they may travel. The nature of the risk against which
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             section 1752 guards strongly disfavors Griffin’s interpretation
             of the statute.

                  Requiring proof that a defendant knew the reason for his
             exclusion would render the statute ineffective in circumstances
             in which Congress plainly intended it to apply. In enacting and
             amending section 1752, Congress’s particular concern was to
             empower the Secret Service to arrest and expel those who
             breach security perimeters—so-called “zones of protection”—
             around the nation’s leaders. See S. Rep. 91-1252, at 7 (1970);
             Zones of Protection: Hearing on H.R. 4468 Before the H.
             Comm. on the Judiciary, 97th Cong. 5, at 11 (1981). As the
             district court reasoned, it is “[un]imagin[able] that a provision
             that is looking to protect Secret Service protectees would
             require the Secret Service to somehow be telling people and
             proving that people knew which protectee was in the restricted
             area at what time.” J.A. 534.

                  But, under Griffin’s reading, officers could not necessarily
             rely on section 1752 to stop and arrest anyone who breaches a
             restricted area; before doing so, they would need “at least some
             evidence supporting” the trespasser’s knowledge of the
             protectee’s presence. Hall v. Dist. of Columbia, 867 F.3d 138,
             154 (D.C. Cir. 2017). In effect, Griffin would burden Secret
             Service agents protecting the perimeter around the President or
             other leader with the additional task of alerting members of the
             public who might breach the area that a Secret Service
             protectee is inside. Even an instruction from someone clearly
             identifiable as a Secret Service agent not to cross the perimeter
             would not suffice under Griffin’s reading of the statute to
             ensure a potential intruder “knows” a protectee is present.

                 Griffin minimizes the constraint his reading imposes by
             suggesting that officers could post “Secret Service ‘restricted
             building or grounds’ signage” around the areas they secure.
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             Griffin Br. 54-55. It is not clear, however, that a generic
             “Secret Service—Keep Out” sign could prove knowledge of
             the facts identified in subsection (c)(1)(B). The requirements
             of the statute as Griffin reads it would be unmet by proof that a
             defendant knowingly entered or remained without lawful
             authority in any building or grounds that he generally knew to
             have been placed under restriction by the Secret Service. His
             own logic is more demanding, calling for proof that the
             defendant knew the distinct facts supporting the restriction he
             violated: that the restricted area he entered was the White
             House or Vice President’s residence or their grounds
             (subsection (c)(1)(A)); or that a Secret Service protectee was
             or would be temporarily visiting the restricted area (subsection
             (c)(1)(B)); or that the area was restricted in conjunction with a
             “special event of national significance” (subsection (c)(1)(C)).
             His suggestion of a less cumbersome way to meet it tacitly
             acknowledges the implausibility of his highly detailed
             knowledge requirement. Griffin cannot have it both ways.

                  In any event, Griffin’s suggestion of generic Secret
             Service signage underscores the defect of his argument. To
             provide security for its protectees as they travel throughout the
             United States, the Secret Service often works with other federal
             law enforcement entities like the Capitol Police, and with state
             and local law enforcement agencies. Griffin’s interpretation
             would require the Secret Service to call on local partners to use
             specialized “Secret Service” notices, rather than the signage
             they routinely use, like the “Area Closed by Order of the United
             States Capitol Police Board” notices posted on January 6.
             Congress could not have intended that the security perimeters
             it authorized to protect the nation’s top political leadership
             would function only if the Secret Service provided signs
             specifying the particular reason for the Secret Service’s
             involvement and prevailed on its state and local partners to use
             them.
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                  Griffin’s approach would surely hinder the Secret
             Service’s capacity to handle the full range of potential threats.
             Congress’s intent in enacting and amending the statute was to
             provide the Secret Service with consistent and effective
             federal-law tools so it would no longer have to rely on uneven
             protections of state law. But, by requiring proof that each
             intruder knew “the President or other person protected by the
             Secret Service is or will be temporarily visiting,” Griffin’s
             reading would make a section 1752(a)(1) violation
             significantly harder to prove than its state-law counterparts.
             That added proof burden might not hinder the Secret Service’s
             ability to detain and prosecute someone who breached a
             security perimeter with the avowed intent to confront a
             particular protectee. But, as the events of January 6 illustrate,
             Griffin’s reading would substantially undercut the Secret
             Service’s ability to fulfill its protective mission in volatile
             situations where potential intruders outnumber agents. More
             broadly, his reading would embolden people to breach Secret
             Service zones of protection with confidence that, so long as no
             agent tells them the reason the area is cordoned off (and they
             keep under wraps such knowledge they might have from other
             sources), section 1752(a)(1) will not reach them.

                                          ***

                 In sum, Congress’s clear purpose in enacting section
             1752(a)(1) was to establish a uniform federal trespass
             misdemeanor to help the Secret Service protect national
             leadership from harm. We reject Griffin’s reading, which is so
             squarely at odds with that clear purpose. We have no basis to
             conclude that Congress intended to undermine its vital aim by
             requiring proof that an intruder knew, when he breached a
             federally restricted area, that a Secret Service protectee was or
             would be present. The statutory text does not compel that
             reading, facts that support Congress’s authority to legislate are
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             assumed to “stand outside the otherwise applicable mens rea
             requirement,” Torres, 578 U.S. at 468, and the conduct is
             independently culpable.

                                           III.

                  To recap, we hold that the trial evidence sufficed to prove
             that the Capitol grounds were “posted, cordoned off, or
             otherwise restricted” under section 1752(c)(1), and that Griffin
             knew they were so restricted when he entered and remained
             there. We further hold that the government was not required to
             prove that Griffin knew when he entered and remained in the
             restricted area that Vice President Pence was still there.

                 For the foregoing reasons, the judgment of the district
             court is affirmed.

                                                                 So ordered.
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                  KATSAS, Circuit Judge, dissenting: This appeal turns on
             the scope of an express knowledge requirement in a criminal
             statute that protects the President, the Vice President, and other
             high officials from trespassers.          The statute prohibits
             knowingly entering a “restricted building or grounds,” 18
             U.S.C. § 1752(a)(1), which is a defined term. First, the area
             must be “posted, cordoned off, or otherwise restricted.” Id.
             § 1752(c)(1). Second, as relevant here, it must be one where
             “the President or other person protected by the Secret Service
             is or will be temporarily visiting.” Id. § 1752(c)(1)(B). The
             question presented is whether a defendant, to be convicted
             under section 1752(a)(1), must know that the “restricted
             building or grounds” satisfies one or both elements of this
             statutory definition. My colleagues hold that a defendant must
             know that the area satisfies the first element of the definition
             but need not know that it satisfies the second. In my view, the
             defendant must know that the area satisfies both elements.

                                             I

                  During the riot on January 6, 2021, Couy Griffin entered
             the grounds of the United States Capitol and made his way onto
             the inaugural stage. At that time, entry into the grounds was
             restricted because Congress was scheduled to count the votes
             of the presidential electors. When Griffin entered the restricted
             grounds, Vice President Michael Pence, a Secret Service
             protectee, was inside the Capitol to preside over the vote count.

                  Griffin was charged with knowingly entering a “restricted
             building or grounds,” in violation of section 1752(a)(1), and
             with knowingly engaging in disorderly conduct inside a
             “restricted building or grounds” with intent to disrupt
             government business, in violation of section 1752(a)(2).
             During a bench trial, the district court held that these offenses
             do not require proof that the defendant knew the “restricted
             building or grounds” satisfies the statutory definition of that
             term. The court found that Griffin had entered an area where
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                                           2
             he “knew he shouldn’t be,” J.A. 537, but it made no finding
             whether Griffin knew that the Vice President was or would
             soon be present. The court further found that Griffin had
             neither engaged in any disorderly conduct nor intended to
             disrupt Congress. Based on these findings, the court convicted
             Griffin on the first count and acquitted him on the second.
             Griffin appealed the conviction.

                                           II

                 Section 1752 of Title 18 creates five criminal offenses
             requiring acts inside a “restricted building or grounds.” 18
             U.S.C. § 1752(a). The first offense covers anyone who
             “knowingly enters or remains in any restricted building or
             grounds without lawful authority to do so.” Id. § 1752(a)(1).
             Section 1752 expressly defines the term “restricted building or
             grounds.” As used in that provision:

                 [T]he term “restricted buildings or grounds” means any
                 posted, cordoned off, or otherwise restricted area—

                     (A) of the White House or its grounds, or the Vice
                     President’s official residence or its grounds;

                     (B) of a building or grounds where the President
                     or other person protected by the Secret Service is
                     or will be temporarily visiting; or

                     (C) of a building or grounds so restricted in
                     conjunction with an event designated as a special
                     event of national significance[.]
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                                               3
             Id. § 1752(c)(1). 1

                  The parties dispute the extent of knowledge a defendant
             must have about the “restricted building or grounds” to be
             properly convicted under section 1752. They agree the
             defendant must know that the area satisfies the first element of
             the statutory definition—i.e., he must know that the area was
             “posted, cordoned off, or otherwise restricted.” 18 U.S.C.
             § 1752(c)(1); see Appellee Br. at 42–43. According to Griffin,
             the defendant also must know that the restricted area satisfies
             the second element of the definition. Here, in other words,
             Griffin had to know that the restricted area was one where the
             Vice President, who is protected by the Secret Service, was or
             would be “temporarily visiting.” 18 U.S.C. § 1752(c)(1)(B). 2

                                               A

                 In my view, statutory text, history, and basic interpretive
             presumptions all point in the same direction: To be convicted


                  1
                     In section 1752, the substantive offenses involve misconduct
             in any “restricted building or grounds,” while the definition covers
             the term “restricted buildings or grounds,” with buildings in the
             plural. The slight difference appears to be a scrivener’s error, and no
             party suggests that it makes any difference here.
                  2
                     The question presented has often arisen in the prosecution of
             individuals who trespassed on Capitol grounds on January 6, 2021.
             According to the Department of Justice, prosecutors have obtained
             over 470 convictions under section 1752. In all of these cases,
             criminal liability may turn on whether the defendant had to know that
             Vice President Pence was present at the time of the trespass. The
             district judges in our circuit are deeply divided on that question; six
             have answered yes, while ten have answered no. See United States
             v. Vaglica, No. 23-cr-429, 2024 WL 4244279, at *2 (D.D.C. Sept.
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                                              4
             of knowingly entering a “restricted building or grounds,” the
             defendant must know that the area in question satisfies the
             statutory definition of that term.

                                              1

                  Start with text, grammar, and ordinary English usage.
             These considerations drive the interpretation of federal
             statutes—including criminal ones. See, e.g., Flores-Figueroa
             v. United States, 556 U.S. 646, 650–52 (2009); Jones v. United
             States, 529 U.S. 848, 855 (2000). And here, they strongly
             support Griffin.

                                              a

                  “As a matter of ordinary English grammar, it seems natural
             to read” the word knowingly, if it introduces a criminal
             prohibition, “as applying to all the subsequently listed elements
             of the crime.” Flores-Figueroa, 556 U.S. at 650; see Rehaif v.
             United States, 588 U.S. 225, 230 (2019) (courts “ordinarily
             read a phrase in a criminal statute that introduces the elements
             of a crime with the word ‘knowingly’ as applying that word to
             each element” (quoting Flores-Figueroa, 556 U.S. at 652));
             United States v. X-Citement Video, Inc., 513 U.S. 64, 79 (1994)
             (Stevens, J., concurring) (“the normal, commonsense reading
             of a subsection of a criminal statute introduced by the word
             ‘knowingly’ is to treat that adverb as modifying each of the
             elements of the offense identified in the remainder of the
             subsection”).

                 Examples prove this point. An obvious one involves
             knowingly followed by a series of verbs. A provision making


             19, 2024) (collecting rulings); Hr’g Tr., United States v. Mauck, No.
             23-cr-339 (Sept. 27, 2024).
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                                            5
             it unlawful to “knowingly harass, bother, or intimidate” does
             not reach someone who unknowingly intimidates. See A.
             Scalia & B. Garner, Reading Law: The Interpretation of Legal
             Texts 147–48 (2012) (describing prepositive modifiers).
             Another example involves knowingly followed by a transitive
             verb, then a direct object, then a further limiting prepositional
             phrase. In that instance, the introductory adverb “tells the
             listener how the subject performed the entire action, including
             the object” as limited. Flores-Figueroa, 556 U.S. at 650; see
             also McFadden v. United States, 576 U.S. 186, 191 (2015)
             (“the word ‘knowingly’ applies not just to the statute’s verbs
             but also to the object of those verbs”); Flores-Figueroa, 556
             U.S. at 657 (Scalia, J., concurring in part and concurring in the
             judgment) (once knowingly “is understood to modify the object
             of those verbs, there is no reason to believe it does not extend
             to the phrase which limits that object”). So, “if a bank official
             says, ‘Smith knowingly transferred the funds to his brother’s
             account,’ we would normally understand the bank official’s
             statement as telling us that Smith knew the account was his
             brother’s.” Flores-Figueroa, 556 U.S. at 650. For unless
             context dictates otherwise, it would make little sense to extend
             knowingly only to the verb (transferred), rather than carrying it
             through to the direct object (funds) and the limiting
             prepositional phrase (to the brother’s account). See id. at 650–
             51. These principles vary and combine—often in obvious
             ways. Consider one other quotidian example: “He knowingly
             pulled over and parked in a no-parking zone.” An ordinary
             English speaker would understand that knowingly applies to
             both verbs (pulled over and parked) and to the particular
             circumstance in which those actions occurred (in a no parking
             zone). Nobody would think that the driver had knowingly
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                                            6
             pulled over and parked, but may not have known whether he
             was doing so in a prohibited area.

                  The Supreme Court repeatedly has applied these principles
             in construing introductory knowledge requirements. For
             example, United States v. Liparota, 471 U.S. 419 (1985),
             involved a statute imposing criminal liability on anyone who
             “knowingly uses, transfers, acquires, alters, or possesses
             coupons or authorization cards in any manner not authorized
             by” the governing positive law. See id. at 420. The Court held
             that this provision reaches only individuals who know that their
             conduct is “not authorized” by law. See id. at 425–28. Flores-
             Figueroa construed a statute imposing criminal liability on
             anyone who “knowingly transfers, possesses, or uses, without
             lawful authority, a means of identification of another person.”
             See 556 U.S. at 647. The Court held that this provision reaches
             only individuals who know that their conduct involves a means
             of identifying “another person.” See id. Invoking “ordinary
             English,” the Court explained that it would make “little sense”
             to criminalize knowingly possessing “a something” unless the
             defendant also knows what that something is. See id. at 650.

                  The same principles support extending knowledge
             requirements into defined terms and across different statutory
             provisions. Rehaif involved a statute imposing criminal
             liability on anyone who “knowingly violates” certain separate
             offenses including 18 U.S.C. § 922(g), which prohibits any
             alien (1) “unlawfully in the United States” from (2) possessing
             any “firearm.” The Supreme Court held that the statute reaches
             only someone who knows he is violating all “material
             elements” of the predicate offense, and it found “no basis to
             interpret ‘knowingly’ as applying to the second § 922(g)
             element but not the first.” 588 U.S. at 230–31; see also United
             States v. Games-Perez, 667 F.3d 1136, 1143 (10th Cir. 2012)
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                                            7
             (Gorsuch, J., concurring) (such an interpretation “defies
             linguistic sense—and not a little grammatical gravity”).

                  Likewise, McFadden addressed the knowledge
             requirement in the Controlled Substances Act. That statute
             makes it unlawful to “knowingly … manufacture, distribute, or
             dispense, or possess with intent to manufacture, distribute, or
             dispense, a controlled substance.” 21 U.S.C. § 841(a)(1). And
             it separately defines the term “controlled substance” as “a drug
             or other substance, or immediate precursor, included in
             schedule I, II, III, IV, or V” of the Act. Id. § 802(6). The
             Supreme Court explained that the substantive prohibition, by
             its “ordinary meaning,” reaches only individuals who know
             that the substance at issue is “listed on the federal drug
             schedules.” See 576 U.S. at 192. In other words, the
             introductory mens rea extends to the elements of the defined
             term, even when they appear in different statutory provisions.

                 Finally, United States v. Lucero, 989 F.3d 1088 (9th Cir.
             2021), involved criminal liability under the Clean Water Act.
             One section of that Act imposes criminal liability for
             “knowingly” violating a second section, which prohibits the
             “discharge of any pollutant” without a permit. See id. at 1093.
             A third section defines “discharge of pollutants” as adding any
             “pollutant” to “navigable waters” from any “point source.” See
             id. Three other subsections of that section separately define
             each of those three terms. See id. at 1093–94. Faced with these
             terms strung together “like Russian nesting dolls,” id. at 1093,
             the Ninth Circuit held that the criminal provision requires
             knowledge of all “substantive elements” set forth in the
             definition and sub-definitions—thus excluding only a purely
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                                            8
             “jurisdictional element” that the polluted water must also be
             “waters of the United States.” See id. at 1095–97.

                                            b

                  These textual and grammatical principles are dispositive
             here. As noted above, the governing statute punishes anyone
             who “knowingly enters or remains in any restricted building or
             grounds.” 18 U.S.C. § 1752(a)(1). The introductory adverb
             knowingly applies not only to the two verbs but also to the
             phrase that immediately follows—“any restricted building or
             grounds,” which functions either as the direct object of “enters”
             or as part of a prepositional phrase modifying “remains.” In
             other words, a defendant must know not only that he is entering
             somewhere off-limits; he must know that he is entering a
             “restricted building or grounds” as statutorily defined. See,
             e.g., McFadden, 576 U.S. at 188–89; Flores-Figueroa, 556
             U.S. at 650. And that requires both knowing that the relevant
             area is “posted, cordoned off, or otherwise restricted,” 18
             U.S.C. § 1752(c)(1), and, for January 6 Capitol trespassers,
             also knowing that the Vice President was or would be
             “temporarily visiting” at the time of the trespass, id.
             § 1752(c)(1)(B).

                  My colleagues try to split the difference. They agree the
             defendant must know that the relevant area satisfies the first
             part of the statutory definition—i.e., that the area was “posted,
             cordoned off, or otherwise restricted” at the time of the
             trespass. Ante at 4. But there is no textual or contextual basis
             for projecting the knowledge requirement only halfway
             through the definition. As shown above, it is routine to project
             an introductory adverb like knowingly past the following verbs
             and direct object to prepositional phrases that limit one or the
             other. Faced with a request to do otherwise, the Court in
             Flores-Figueroa asked rhetorically: “But how are we to square
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                                            9
             this reading with the statute’s language?” 556 U.S. at 651–52.
             Likewise, it is common to project knowingly from operative
             text into statutory definitions, as happened in Rehaif,
             McFadden, and Lucero.

                  My colleagues object that a mens rea need not travel
             through a “long statutory phrase,” especially one “set forth in
             independent clauses separated by interruptive punctuation.”
             Ante at 21–22 (citing X-Citement Video, 513 U.S. at 68).
             Perhaps not, but section 1752 presents none of those features.
             All agree that knowingly must extend beyond the operative
             verbs (“enters or remains”) to the immediately following
             qualifier (“restricted building or grounds”), which is a defined
             term. And all agree that knowingly must then extend a short
             distance from the prohibition in section 1752(a)(1) to at least
             the first half of the definition in section 1752(c)(1)—a leap
             much smaller than the one recognized in McFadden, from a
             prohibition in section 841 of Title 21 to a definition in section
             802. See 576 U.S. at 192. And once extended into section
             1752(c), why would knowingly stop halfway through the
             definition, immediately after the phrase “any posted, cordoned
             off, or otherwise restricted area—”? That phrase neither stands
             on its own nor adds much to the prohibition on entering or
             remaining in “any restricted building or grounds.” Moreover,
             the second half of the definition, which elaborates on where
             individuals must not trespass, does not feature independent
             clauses. Just the opposite: The three descriptions all begin
             with the preposition “of” and would be sentence fragments if
             severed from the first half of the definition. Finally, the em-
             dash separating the two elements of the definition does not
             serve as interruptive punctuation. In the abstract, an em-dash
             might mark an interruption, a connection, or simply a stylistic
             choice to replace a comma or a colon. See B. Garner, Garner’s
             Modern English Usage 899–900 (5th ed. 2022); Mitchell v.
             Chapman, 343 F.3d 811, 830 (6th Cir. 2003) (em-dash
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                                            10
             “introduces related provisions”). Here, inserted after a largely
             redundant noun phrase and before several limiting
             prepositional phrases, the em-dash clearly serves to connect.

                  Moreover, the ensuing prepositional phrases impose
             significant limits. So, excluding them from the knowledge
             requirement substantially broadens the underlying prohibition.
             For example, it ensnares a hotel guest who walks past an “area
             closed for private event” sign in search of an open bar if,
             unbeknownst to the thirsty interloper, the First Lady is
             expected to attend. See 18 U.S.C. § 3056(a) (Secret Service
             protectees). Likewise, it ensnares an individual who stepped
             over temporary plastic fencing just outside the Capitol grounds
             on January 5, 2021, to save a few steps on a walk home from
             work, even if he was unaware of the impending arrival of the
             Vice President. And if that person did so while lawfully
             carrying a firearm, he would face imprisonment of up to ten
             years. See id. § 1752(b)(1)(A). Such improbable breadth
             suggests that something has gone awry. See, e.g., Fischer v.
             United States, 144 S. Ct. 2176, 2189 (2024); Bond v. United
             States, 572 U.S. 844, 860 (2014).

                  My colleagues further object with a reductio ad absurdum.
             If section 1752(a)(1) incorporates any element of the defined
             term “restricted building or grounds,” then why not incorporate
             every element “all the way down” the entire “definitional line”?
             Ante at 24. After all, the definition of “restricted building or
             grounds” contains three alternative elements after its internal
             em-dash. See 18 U.S.C. § 1752(c)(1). The alternative at issue
             here contains the term “other person protected by the Secret
             Service,” which is separately defined. Id. § 1752(c)(1)(B),
             (c)(2). And the separate definition incorporates yet another
             statute listing eligible protectees. See id. § 1752(c)(2) (citing
             18 U.S.C. § 3056(a)). Plucking out elements from this
             “matryoshka doll of nested statutory references,” ante at 23,
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                                           11
             one might ask questions such as: For areas meeting the
             definition of “restricted building or grounds” based on an
             “event designated as a special event of national significance,”
             id. § 1752(c)(1)(C), must the defendant know about the
             designation? Because the defined term “other person protected
             by the Secret Service” excludes certain individuals who have
             declined such protection, id. § 1752(c)(2), must the defendant
             know that the individual has not declined the protection? And
             for individuals whose protection depends on obscure details
             such as the age of children of a former President, see id.
             § 3056(a)(4), must the defendant know those details?

                  In my view, the reductio is unpersuasive. Of course, the
             extension of an introductory mens rea requirement is a question
             of degree. Adverbs do not necessarily modify everything that
             follows. So when knowingly “introduces a long statutory
             phrase,” questions “may reasonably arise about how far into
             the statute the modifier extends.” Rehaif, 588 U.S. at 230.
             Likewise for nested statutory references, reaching the first one
             does not necessarily require reaching all of them. But here,
             there is nothing extravagant about extending the knowledge
             requirement to the simple verb-object phrase that immediately
             follows (“enters or remains in any restricted building or
             grounds”) and then to the straightforward incorporated
             definition (requiring, as relevant here, an area “posted,
             cordoned off, or otherwise restricted” in connection with a
             current or impending visit by someone “protected by the Secret
             Service”). As shown above, the Supreme Court has routinely
             done at least that much, and the Ninth Circuit has done more.

                  Moreover, the reductio highlights elements for which
             knowledge may be difficult or impossible to prove—the
             existence of a presidential designation not announced in
             advance, an individual’s acceptance or declination of
             protection, and the age of individuals protected only while they
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                                            12
             are children. For those elements, closer questions might arise.
             Perhaps the near-impossibility of proving knowledge of some
             element is a contextual clue suggesting that no mens rea
             requirement applies to it. See Scalia & Garner, supra, at 307.
             But those questions, involving definitional elements not at
             issue here, should not obscure what is at issue: knowledge
             about restrictions imposed in connection with a current or
             impending visit by the Vice President, who may not decline
             Secret Service protection and whose status as a protectee is not
             contingent on anything. See 18 U.S.C. § 3056(a)(1). The reach
             of the knowledge requirement is necessarily a line-drawing
             exercise—which my colleagues must recognize in extending
             the knowledge requirement from section 1752(a)(1) to the first
             half of the statutory definition in section 1752(c). Precisely for
             that reason, the reductio falls flat. The only question here is
             whether the knowledge requirement comes to a full stop at the
             em-dash halfway through the definition. As explained above,
             it does not—regardless of how much farther the knowledge
             requirement might or might not extend into nested statutory
             sections besides section 1752(c)(1)(B).

                                             2

                 Statutory history reinforces these points. As originally
             enacted, section 1752 made it unlawful for any person
             “willfully and knowingly to enter or remain in” either of two
             areas, one of which was “any posted, cordoned off, or
             otherwise restricted area of a building or grounds where the
             President is or will be temporarily visiting.” Omnibus Crime
             Control Act of 1970, Pub. L. No. 91-644, § 18, 84 Stat. 1880,
             1891–92 (1971). Under the grammatical principles and
             caselaw discussed above, the introductory mens rea
             requirements (“willfully and knowingly”) plainly extended to
             the relevant verbs (“enter or remain”), object (“area”), and
             immediately ensuing qualifier (“where the President is or will
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                                            13
             be temporarily visiting”). And the argument for that extension
             would have avoided all of the textual complications invoked
             here by my colleagues: The relevant text was strung together
             without interruption, so there was no question about extending
             an introductory mens rea requirement from a substantive
             prohibition to an incorporated definition, compare ante at 23–
             24, with Lucero, 989 F.3d at 1095–97, or, within that definition,
             about extending the mens rea to text after an intervening em-
             dash, compare United States v. Palomares, 52 F.4th 640, 643
             (5th Cir. 2022) (opinion of Jolly, J.), with id. at 653–54
             (Willett, J., dissenting) and Pulsifer v. United States, 601 U.S.
             124, 171 n.4 (2024) (Gorsuch, J., dissenting).

                  Section 1752 has become broader and more complex over
             time, but none of the changes helps the government. Congress
             has extended the statute to Secret Service protectees other than
             the President, see Pub. L. No. 97-308, 96 Stat 1451, 1451
             (1982), and to events designated as nationally significant, see
             Pub. L. No. 109-177, § 602, 120 Stat. 192, 252 (2006). But as
             explained above, those amendments (other than the extension
             of section 1752 to the Vice President) are neither directly at
             issue here nor helpful in understanding the provisions that are.
             Moreover, Congress did not move the key requirement at
             issue—that a Secret Service protectee “is or will be temporarily
             visiting” the restricted area—from operative text into a separate
             definition until 2012, when the statute assumed roughly its
             current form. See Pub. L. No. 112-98, § 2, 126 Stat. 263, 263–
             64. In the 2012 amendments, use of a separate definition
             avoided the need to repeat the operative text in each of four
             separate paragraphs setting forth four separate offenses. See
             id. And use of an em-dash in the definition avoided the need
             to repeat the phrase “any posted, cordoned off, or otherwise
             restricted area” to describe each of the three categories of
             protected areas. See id. As my colleagues explain, these
             changes served merely to “streamline” a statute that had
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                                           14
             become “increasingly cumbersome” as its coverage expanded.
             Ante at 41. Such “legislative housekeeping,” id., did not work
             a sea change by severing the mens rea from offense elements
             to which it had previously applied.

                  Two other changes warrant a brief mention. In 2006,
             Congress increased the maximum authorized penalty for
             violations of section 1752 from six months of imprisonment to
             one year, and it authorized ten years of imprisonment for
             violations while the defendant is carrying a “deadly or
             dangerous weapon or firearm.” Pub. L. No. 109-177, § 602,
             120 Stat. at 252; see 18 U.S.C. § 1752(b). This change
             underscored the substantive difference between section
             1752(a)(1) and simple trespass, thus weakening the
             government’s position even more. See United States v.
             Groseclose, 710 F. Supp. 3d 1, 9 (D.D.C. 2024). Finally, in
             2012, Congress eliminated the separate mens rea requirement
             of acting willfully. See Pub. L. No. 112-98, § 2, 126 Stat. at
             263. But that says nothing about the scope of the knowledge
             requirement, which has remained unchanged since 1971.

                 In sum, the knowledge requirement in the original version
             of section 1752 applied to the requirement of a current or
             impending visit by a protected individual, and none of the later
             amendments undercuts that conclusion.

                                            3

                 If any doubt on this point remained, two interpretive
             principles would resolve it against the government—the
             presumption of mens rea and the rule of lenity.

                  The Supreme Court has long recognized a presumption
             that criminal statutes “include broadly applicable scienter
             requirements.” X-Citement Video, 513 U.S. at 70; see, e.g.,
             Ruan v. United States, 597 U.S. 450, 457–59 (2022); Staples v.
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                                            15
             United States, 511 U.S. 600, 605–06 (1994); United States v.
             U.S. Gypsum Co., 438 U.S. 422, 436 (1978). The presumption
             reflects a view that crime usually requires the “concurrence of
             an evil-meaning mind with an evil-doing hand,” which
             originated in English common law and “took deep and early
             root in American soil.” Morissette v. United States, 342 U.S.
             246, 251–52 (1952). The presumption “is no provincial or
             transient notion”; rather, it “is as universal and persistent in
             mature systems of law as belief in freedom of the human will
             and a consequent ability and duty of the normal individual to
             choose between good and evil.” Id. at 250.

                  The presumption applies in two distinct contexts. First,
             courts will read mens rea requirements into criminal statutes
             that “are silent on the required mental state.” Elonis v. United
             States, 575 U.S. 723, 736 (2015); see, e.g., Staples, 511 U.S. at
             605. In doing so, “we read into the statute only that mens rea
             which is necessary to separate wrongful conduct from
             otherwise innocent conduct.” Elonis, 575 U.S. at 736 (cleaned
             up); see United States v. Burwell, 690 F.3d 500, 505 (D.C. Cir.
             2012) (en banc). Second, if text and grammar are not
             dispositive, courts will construe express mens rea requirements
             broadly as opposed to narrowly. When a statute is not silent as
             to the mens rea but instead includes a general scienter
             provision, “‘the presumption applies with equal or greater
             force’ to the scope of that provision.” Ruan, 597 U.S. at 458
             (quoting Rehaif, 588 U.S. at 229). Moreover, the Supreme
             Court has “rejected the government’s argument that the
             absence of innocence should circumscribe the reach of an
             explicit mens rea requirement.” Burwell, 690 F.3d at 516
             (citing Flores-Figueroa, 556 U.S. at 650–52). So while
             express mens rea terms “often” separate wrongful and innocent
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             conduct, Ruan, 597 U.S. at 458, they can also separate greater
             and lesser evils.

                  Needless to say, a trespass that threatens the life or safety
             of the President or the Vice President is substantially more
             culpable than a simple trespass consisting of nothing more than
             knowingly entering an area “posted, cordoned off, or otherwise
             restricted,” 18 U.S.C. § 1752(c)(1). The latter is a local
             misdemeanor offense, D.C. Code § 22-3302, which, if it were
             to occur in the states, Congress would not and could not
             regulate at all, see, e.g., United States v. Morrison, 529 U.S.
             598 (2000); United States v. Lopez, 514 U.S. 549 (1995). The
             former is an urgent matter, which my colleagues aptly describe
             as implicating “the national security of the United States.”
             Ante at 26. And so too are trespasses that threaten the lives of
             other Secret Service protectees, who are leading national
             officials, their immediate families, and their foreign
             counterparts. See 18 U.S.C. § 3056(a).

                  Finally, consider the rule of lenity. In cases addressing the
             scope of mens rea requirements in criminal statutes, the
             presumption and the rule of lenity work as companion
             principles, both supporting narrow constructions over broad
             ones. See, e.g., U.S. Gypsum Co., 438 U.S. at 437; Liparota,
             471 U.S. at 427–28. On the cutting edge, jurists may disagree
             about which doctrine should predominate. Compare Wooden
             v. United States, 595 U.S. 360, 378–79 (2022) (Kavanaugh, J.,
             concurring) (stressing presumption of mens rea), with id. at
             388–92 (Gorsuch, J., concurring in the judgment) (stressing
             lenity). But where the defendant’s proposed construction is as
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             textually plausible as it is here, one or both doctrines should
             remove any lingering doubt.

                                             B

                 My colleagues reason that the definition of “restricted
             building or grounds” is merely jurisdictional and that a broad
             reading of section 1752(a) would best advance its underlying
             purpose. Neither argument seems to me persuasive.

                                             1

                 Start with the proper treatment of assertedly jurisdictional
             elements of federal criminal statutes.

                                             a

                  The Supreme Court has distinguished between substantive
             and jurisdictional elements. Substantive elements “describe
             the evil Congress seeks to prevent.” Torres v. Lynch, 578 U.S.
             452, 467 (2016). On the other hand, jurisdictional elements
             connect the statute “to one of Congress’s enumerated powers,”
             such as its powers to regulate interstate commerce and federal
             property. Id. Because jurisdictional elements “have nothing to
             do with the wrongfulness of the defendant’s conduct,” they
             “are not subject to the presumption in favor of scienter.”
             Rehaif, 588 U.S. at 230. To the contrary, “when Congress has
             said nothing about the mental state pertaining to a jurisdictional
             element, the default rule flips: Courts assume that Congress
             wanted such an element to stand outside the otherwise
             applicable mens rea requirement.” Torres, 578 U.S. at 468.

                  Statutory elements sometimes serve both jurisdictional
             and substantive ends, for “an element that makes evident
             Congress’s regulatory power also might play a role in defining
             the behavior Congress thought harmful.” Torres, 578 U.S. at
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             470–71. In considering such an element, the right question is
             “whether it is jurisdictional only,” not whether it is
             jurisdictional in part. United States v. Feola, 420 U.S. 671, 676
             n.9 (1975); see also United States v. Evans, 74 F.4th 597, 605–
             06 (4th Cir. 2023) (“a jurisdictional element only”). In other
             words, so long as a statutory element has something to do “with
             the wrongfulness of the defendant’s conduct,” Rehaif, 588 U.S.
             at 230, courts should not abandon the presumption of mens rea
             let alone impose the opposite presumption. Of course, “tough
             questions may lurk on the margins” if it is unclear whether a
             jurisdictional element “also” serves substantive ends. Torres,
             578 U.S. at 470–71. But this is not such a case.

                  The statutory definition of “restricted building or grounds”
             is not “jurisdictional only.” The first element of the
             definition—that the area in question must be “posted, cordoned
             off, or otherwise restricted”—is entirely substantive; it defines
             the area into which entry is prohibited, and it does not make
             evident the constitutional basis for federal legislation. The
             second element of the governing definition—that a Secret
             Service protectee “is or will be visiting”—serves both
             jurisdictional and substantive ends. It is partly jurisdictional,
             because Congress could not enact a national prohibition on
             simple trespass. And it is partly substantive, because it reflects
             an obvious judgment that trespasses endangering the life or
             safety of the President, the Vice President, or other Secret
             Service protectees are substantially more culpable than is
             trespassing simpliciter. Given that obviously substantive
             purpose, there is no basis for excepting this provision from the
             statutory mens rea requirement.

                                             b

                 My colleagues rest their contrary conclusion mainly on
             Feola, which involved a statute prohibiting assaults on federal
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             officers performing official duties. See 420 U.S. at 673. The
             Court held that this statute, which includes no express mens rea
             element, does not require knowledge of the victim’s status as a
             federal officer. In concluding that the identity of the victim
             was “jurisdictional only,” id. at 676 n.9, the Court relied
             heavily on a letter from the Attorney General to the Chairman
             of the Senate Judiciary Committee, id. at 680–84. Based on
             that letter, the Court concluded that Congress’s primary
             objective was to create a “federal forum” for prosecuting
             assaults on federal officers, id. at 682, in order to avoid any risk
             that state officials might not prosecute such crimes with
             sufficient “urgency,” id. at 684. The Court specifically
             concluded that Congress had neither intended to “fill a gap in
             existing substantive state law” nor to create a substantive
             “federal aggravated assault statute.” Id. at 683. And if
             Congress had so intended, the Court strongly suggested, the
             statute would presumptively “require[] knowledge of the
             victim’s office.” Id. Finally, in extending its holding to
             conspiracies predicated on the assault statute, the Court
             reiterated its view that the “identity of the proposed victim”
             was “no more germane to the nature” of the assault “than the
             color of the victim’s hair.” Id. at 692–93.

                  Feola does not support my colleagues’ position. For one
             thing, it involved the question whether to impose a court-made
             mens rea requirement, not any question about the scope of a
             statutory one. For another, section 1752(c) reflects concerns
             that are obviously substantive as well as jurisdictional. As my
             colleagues explain, the statute targets only a “small subset of
             trespassing offenses that implicate both the personal security of
             the most high-profile federal officials and their foreign
             counterparts.” Ante at 26. And section 1752 was enacted in
             the wake of the assassinations of President John Kennedy in
             1963 and presidential candidate Robert Kennedy in 1968.
             Although a letter from the Attorney General pushed the Court
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                                             20
             towards concluding that the statute in Feola was “jurisdictional
             only,” a Senate Report accompanying section 1752 cuts
             strongly in the other direction here. Not surprisingly, it
             confirmed the urgent substantive imperative to afford special
             protection to one singularly important official: Congress
             sought to “protect the physical safety of the President of the
             United States and the orderly functioning of his Office,” given
             that “[t]wice in th[e] decade, and nine times in our history, the
             Office of the President ha[d] been the subject of an
             assassination attempt.” S. Rep. No. 91-1252, at 3 (1970); see
             also id. at 5 (“[t]he risk of assassination falls most heavily on
             the highest office in our land”); id. at 6 (“we must be sure that
             the President is fully protected at all times against the isolated
             deranged individual”).

                  My colleagues do not dispute that section 1752(c) serves
             substantive as well as jurisdictional ends. Instead, they read a
             footnote in Feola as establishing that “dual-role elements”
             presumptively lack any mens-rea requirement. Ante at 28–30;
             see 420 U.S. at 676 n.9. In all candor, the footnote is hardly a
             model of clarity. But its principal thrust is that a jurisdictional
             element, “precisely because it implicates factors that are an
             appropriate subject for federal concern,” can have substantive
             significance as well, see id., in contrast to purely jurisdictional
             elements such as a reference to interstate commerce, see
             Torres, 578 U.S. at 468; Rehaif, 588 U.S. at 230. And that is
             why the relevant question, as articulated in the footnote and
             applied in the rest of the opinion, “is not whether the
             requirement is jurisdictional” in part, but instead “whether it is
             jurisdictional only.” Feola, 420 U.S. at 676 n.9. My
             colleagues further reason that Feola must cover partly
             substantive elements because assaulting a federal officer “is
             generally a more serious crime than assaulting a private
             citizen.” Ante at 35. But the Court reasoned that Congress’s
             concerns were merely forum-based, see 420 U.S. at 682–84,
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             with “the identity” of federal officers as substantively
             “irrelevant” as the color of their hair, see id. at 693. Finally,
             my colleagues invoke Feola’s statement that dispensing with
             the mens rea posed “no risk of unfairness” because assaults are
             wrongful regardless. Ante at 32; see 420 U.S. at 685. But as
             explained above, the Supreme Court has since rejected the
             contention “that the absence of innocence should circumscribe
             the reach of an explicit mens rea requirement.” See Burwell,
             690 F.3d at 516 (citing Flores-Figueroa, 556 U.S. at 650–52).

                  My colleagues invoke other precedents besides Feola, but
             none helps their case. United States v. Yermian, 468 U.S. 63
             (1984), turned on the “clear” textual separation between a
             jurisdictional element and a statutory mens rea requirement,
             which appeared after and “in a phrase separate from” the
             jurisdictional element. See id. at 68–69. United States v.
             Morgan, 45 F.4th 192 (D.C. Cir. 2022), turned on a special
             presumption against knowledge requirements regarding the
             age of victims in “sex crimes involving minors,” which does
             not involve jurisdictional elements at all. Id. at 206. Burwell
             involved the mens rea requirement for a firearms offense
             requiring the weapon at issue to be capable of firing
             automatically, 690 F.3d at 502, which was also not a
             jurisdictional element. And the out-of-circuit precedents
             involved provisions held to be “jurisdictional element[s] only,”
             Evans, 74 F.4th at 606—i.e., elements with no substantive
             significance for the offense at issue. See id. (arson on federal
             lands, assessed relative to background state arson law); United
             States v. Hicks, 15 F.4th 814, 817–18 (7th Cir. 2021) (stealing
             federal property, assessed relative to background state theft
             statutes); United States v. Escalera, 957 F.3d 122, 132–33 (2d
             Cir. 2020) (witness-protection statute for federal proceedings,
             assessed relative to background state witness-protection
             statutes). These decisions do not control a statute that, as
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                                            22
             enacted, afforded singular and special protection to the
             President.

                  One final point. Long after Feola, the Supreme Court
             flagged that jurisdictional elements which “also” serve
             substantive ends may pose “tough questions.” Torres, 578 U.S.
             at 470–71. If that is a fair characterization of the interpretive
             issues surrounding dual-purpose elements, then the rule of
             lenity would resolve this case in Griffin’s favor.

                                             2

                  Finally, my colleagues seek to avoid any interpretation of
             section 1752 that would “pointlessly hinder the Secret
             Service’s ability to defend national leaders.” Ante at 41.
             Repeatedly, they stress the utmost seriousness of protecting the
             President and other high officials from would-be trespassers.
             Id. at 39–44. This line of argument underscores the substantive
             nature of the requirement that the defendant trespass in an area
             where a Secret Service protectee is or will be present.

                  The argument also falters on its own terms. Trespassers
             unaware that someone like the President or Vice President is
             present are much less likely to pose a threat to those officials
             than are individuals who knowingly trespass into an area
             restricted to protect them. My colleagues suggest that the
             January 6 riot reveals a significant practical problem with
             Griffin’s position, given the difficulty of proving that any
             particular trespasser knows a protectee is present. Ante at 43–
             44. That concern strikes me as overstated, particularly given
             the number of Capitol trespassers boasting about their desire
             to influence (whether peacefully or otherwise) the Vice
             President’s performance of his official duties. Moreover, the
             seriousness of an offense is reason to insist on, not depart from,
             a mens rea requirement. See, e.g., Staples, 511 U.S. at 616–19.
             And “concerns about practical enforceability are insufficient to
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             outweigh the clarity of the text.” Flores-Figueroa, 556 U.S. at
             656. We should not jettison these principles here.

                                               III

                  Given its erroneous legal ruling, the district court did not
             make a finding whether Griffin knew that the Vice President
             was still present at the Capitol when Griffin trespassed. Some
             evidence suggests Griffin did not know, such as his later,
             mistaken statement that the Vice President had already certified
             the election before Griffin arrived at the Capitol. Because an
             essential element of the section 1752(a)(1) charge thus remains
             unresolved, I would vacate Griffin’s conviction and remand for
             further findings or proceedings.

                                              IV

                  On the question of mens rea, section 1752 required the
             government to prove more than just Griffin’s knowledge that
             the Capitol grounds were posted, cordoned off, or otherwise
             restricted. The government also had to prove that Griffin knew,
             when he entered or remained in those restricted grounds, that
             the Vice President was still present. Because my colleagues
             conclude otherwise, I respectfully dissent. 3




                  3
                     I agree with my colleagues that the Capitol grounds remained
             “posted, cordoned off, or otherwise restricted” even after rioters tore
             down barriers and that there was sufficient evidence supporting the
             district court’s finding that Griffin knew the grounds satisfied this
             element of the definition when he trespassed.
